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   1 JONATHAN C. McCAVERTY (State Bar No. 210922)
     Principal Deputy County Counsel
   2 jmccaverty@counsel.lacounty.gov
   3 OFFICE OF COUNTY COUNSEL
     General Litigation Division
   4 500 West Temple Street, Suite 468
     Los Angeles, California 90012
   5 Telephone: (213) 974-1828
     Facsimile: (213) 626-7446
   6
   7 Attorneys for Defendant
     LOS ANGELES COUNTY SHERIFF’S DEPARTMENT
   8
     [Additional counsel continued on next page]
   9
  10                            UNITED STATES DISTRICT COURT
  11              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 VANESSA BRYANT, et al.,                        CASE NO. 2:20-cv-09582-JFW-E
  14                   Plaintiffs,                  DISCOVERY MATTER
  15              v.
                                                    JOINT STIPULATION
  16 COUNTY OF LOS ANGELES, et al.,                 REGARDING DEFENDANTS’
  17                   Defendants.                  MOTION FOR PROTECTIVE
                                                    ORDER AND PLAINTIFFS’
  18                                                MOTION TO COMPEL THE
  19                                                DEPOSITIONS OF LOS ANGELES
                                                    COUNTY SHERIFF ALEX
  20                                                VILLANUEVA AND LOS
  21                                                ANGELES COUNTY FIRE CHIEF
                                                    DARYL OSBY
  22
  23                                                Date: October 29, 2021
                                                    Time: 9:30 a.m.
  24                                                Crtrm.: 750
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   1 [Additional counsel, continued from previous page]
   2 LOUIS R. MILLER (State Bar No. 54141)
   3 smiller@millerbarondess.com
     MIRA HASHMALL (State Bar No. 216842)
   4 mhashmall@millerbarondess.com
     JASON H. TOKORO (State Bar No. 252345)
   5 jtokoro@millerbarondess.com
     CASEY B. SYPEK (State Bar No. 291214)
   6 csypek@millerbarondess.com
   7 EMILY A. RODRIGUEZ-SANCHIRICO (State Bar No. 311294)
     esanchirico@millerbarondess.com
   8 MILLER BARONDESS, LLP
     1999 Avenue of the Stars, Suite 1000
   9 Los Angeles, California 90067
  10 Telephone: (310) 552-4400
     Facsimile: (310) 552-8400
  11
     Attorneys for Defendants
  12 COUNTY OF LOS ANGELES, LOS ANGELES COUNTY FIRE DEPARTMENT,
     JOEY CRUZ, RAFAEL MEJIA, MICHAEL RUSSELL, RAUL VERSALES,
  13 ARLIN KAHAN, and TONY IMBRENDA
  14
  15 LUIS LI (State Bar No. 156081)
  16 luis.li@mto.com
     CRAIG JENNINGS LAVOIE (State Bar No. 293079)
  17 craig.lavoie@mto.com
     JENNIFER L. BRYANT (State Bar No. 293371)
  18 jennifer.bryant@mto.com
     MARI T. SAIGAL (State Bar No. 318556)
  19 mari.saigal@mto.com
  20 BRANDON E. MARTINEZ (State Bar No. 318749)
     brandon.martinez@mto.com
  21 MUNGER, TOLLES & OLSON LLP
     350 South Grand Avenue, Fiftieth Floor
  22 Los Angeles, California 90071-3426
     Telephone: (213) 683-9100
  23 Facsimile: (213) 687-3702
  24
     Attorneys for Plaintiff
  25 VANESSA BRYANT
  26
  27
  28
       537199.5
                                                2                  Case No. 2:20-cv-09582-JFW-E
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   1 JEROME M. JACKSON (State Bar No. 64238)
     jmjlaw@aol.com
   2 JEROME M. JACKSON LAW OFFICES
   3 880 Apollo Street, Suite 238
     El Segundo, California 90245
   4 Telephone: (310) 726-4199
     Facsimile: (310) 414-0486
   5
     Attorneys for Plaintiffs
   6 CHRISTOPHER L. CHESTER; R.C.; and H.C.
   7
   8 BRIAN J. PANISH (State Bar No. 116060)
     panish@psblaw.com
   9 KEVIN R. BOYLE (State Bar No. 192718)
  10 boyle@psblaw.com
     SPENCER R. LUCAS (State Bar No. 232498)
  11 lucas@psblaw.com
     MARGUERITE S. SANVICTORES (State Bar No. 299452)
  12 sanvictores@psblaw.com
     PANISH SHEA & BOYLE LLP
  13 11111 Santa Monica Boulevard, Suite 700
  14 Los Angeles, California 90025
     Telephone: (310) 477-1700
  15 Facsimile: (310) 477-1699
  16 Attorneys for Plaintiffs
  17 MATTHEW MAUSER; T.M.; P.M.; I.M.; ALEXIS ALTOBELLI and
     JOHN JAMES ALTOBELLI
  18
  19
  20
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   1 TO ALL INTERESTED PARTIES AND THEIR ATTORNEYS OF
   2 RECORD:
   3              PLEASE TAKE NOTICE that on October 29, 2021, at 9:30 a.m., or as soon
   4 thereafter as this matter may be heard in Courtroom 750 of the above-captioned
   5 Court, located at 255 East Temple Street, Los Angeles, California 90012,
   6 Defendants will and hereby do move for a protective order barring Plaintiffs from
   7 taking the depositions of Sheriff Alex Villanueva, the head of the Los Angeles
   8 County Sheriff’s Department, and Fire Chief Daryl Osby, the head of the Los
   9 Angeles County Fire Department. Plaintiffs concurrently move for an order
  10 compelling Defendants to produce the same two witnesses for deposition.
  11              In accordance with Local Rule 37-1, the parties met and conferred in good
  12 faith before filing this motion. (Declaration of Emily Rodriguez-Sanchirico
  13 ¶¶ 17-24 & Ex. E.) The parties respectfully submit this joint stipulation setting forth
  14 their contentions, along with the supporting declarations of Emily Rodriguez-
  15 Sanchirico and Craig Jennings Lavoie. The parties have agreed to waive their right
  16 to submit supplemental briefs in the interest of having the motions resolved
  17 expeditiously.
  18
  19 DATED: October 15, 2021                   OFFICE OF COUNTY COUNSEL
  20
  21
                                               By:       /s/ Jonathan C. McCaverty
  22
                                                     JONATHAN C. McCAVERTY
  23                                                 Attorneys for Defendant
  24                                                 LOS ANGELES COUNTY SHERIFF’S
                                                     DEPARTMENT
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   1 DATED: October 15, 2021                MILLER BARONDESS, LLP
   2
   3
                                            By:        /s/ Jason H. Tokoro
   4
                                                   JASON H. TOKORO
   5                                               Attorneys for Defendants
   6                                               COUNTY OF LOS ANGELES, LOS
                                                   ANGELES COUNTY FIRE
   7                                               DEPARTMENT, JOEY CRUZ, RAFAEL
   8                                               MEJIA, MICHAEL RUSSELL, RAUL
                                                   VERSALES, ARLIN KAHAN, and
   9                                               TONY IMBRENDA
  10
  11 DATED: October 15, 2021                MUNGER, TOLLES & OLSON LLP
  12
  13
  14                                        By:        /s/ Luis Li
                                                   LUIS LI
  15
                                                   Attorneys for Plaintiff
  16                                               VANESSA BRYANT
  17
  18 DATED: October 15, 2021                JEROME M. JACKSON LAW OFFICES

  19
  20
                                            By:        /s/ Jerome M. Jackson
  21                                               JEROME M. JACKSON
  22                                               Attorneys for Plaintiffs
                                                   CHRISTOPHER L. CHESTER; R.C.; and
  23                                               H.C.
  24
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   1 DATED: October 15, 2021                PANISH SHEA & BOYLE LLP
   2
   3
                                            By:        /s/ Kevin R. Boyle
   4
                                                   KEVIN R. BOYLE
   5                                               Attorneys for Plaintiffs
   6                                               MATTHEW MAUSER; T.M.; P.M.;
                                                   I.M.; ALEXIS ALTOBELLI and JOHN
   7                                               JAMES ALTOBELLI
   8
   9
  10
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    1                                   JOINT STIPULATION
    2 I.       INTRODUCTION
    3          A.     Defendants’ Statement
    4          Plaintiffs1 bring federal claims under 42 U.S.C. § 1983 and state claims for
    5 negligence, invasion of privacy, and intentional infliction of emotional distress. The
    6 only direct claim against the County and its departments is a Monell claim.
    7          Although Plaintiff Bryant initially had claims against Sheriff Villanueva, the
    8 elected official who runs the Los Angeles County Sheriff’s Department (“LASD”),
    9 the Court granted Defendants’ motion to dismiss him from the case almost a year
   10 ago. [Dkt. 46.] The Could held that Plaintiff’s theory of liability “defie[d] common
   11 sense.” [Id.] After that ruling, the other Plaintiffs voluntarily dismissed Sheriff
   12 Villanueva from their operative complaints. As a result, Sheriff Villanueva is not a
   13 defendant in any of the four related cases. Fire Chief Osby, the head of the Los
   14 Angeles County Fire Department (“LACFD”), was never a defendant in any of the
   15 cases, nor is he even mentioned in the complaints.
   16          Nonetheless, Plaintiffs now contend that they are entitled to the depositions of
   17 Sheriff Villanueva and Fire Chief Osby. These are classic apex depositions. The
   18 general rule is that heads of government agencies, like Sheriff Villanueva and Fire
   19 Chief Osby, are not normally subject to deposition, absent extraordinary
   20 circumstances. A plaintiff may be entitled to an apex deposition only if the witness
   21 has unique personal knowledge about issues material to the case and the information
   22 sought cannot be obtained from any other source. This rule protects officials “from
   23 discovery that will burden the performance of their duties, particularly given the
   24 frequency with which such officials are likely to be named in lawsuits.”
   25
        1
   26   “Plaintiffs” refers to Plaintiffs in the four related cases: Vanessa Bryant (“Bryant”)
      (Case No. 20-09582), Christopher Chester, et al. (“Chester”) (Case No. 20-10844),
   27 Matthew Mauser, et al. (“Mauser”) (Case No. 21-00497), and John James Altobelli,
   28 et al. (“Altobelli”) (Case No. 21-04663).
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    1              Plaintiffs cannot meet their burden here. They have taken 13 depositions and
    2 have approximately 20 more scheduled for October and November. Deponents
    3 include (i) two high-level 30(b)(6) witnesses for LACFD; (ii) Sheriff Villanueva’s
    4 Chief of Staff, a Commander; (iii) the head of LASD’s Sheriff’s Information
    5 Bureau, a Captain; and (iv) the Lieutenant and Sergeant charged with carrying out
    6 Sheriff Villanueva’s instruction to prevent dissemination of any photos from the
    7 January 26, 2020 helicopter crash. All of these witnesses have direct personal
    8 knowledge of the issues at the heart of Plaintiffs’ claims in these four related cases.
    9              Any information they seek from Sheriff Villanueva or Fire Chief Osby can be
   10 (and has been) obtained from other witnesses. Plaintiffs ignore this dispositive fact,
   11 even though they finally started asking for the discovery they should have pursued
   12 months ago two days after receiving Defendants’ portion of this joint statement. For
   13 example, Plaintiffs just served an LASD 30(b)(6) notice—for the first time. They
   14 also just asked for the depositions of the individuals who verified the County’s
   15 discovery responses. These are the sources Plaintiffs should turn to for any
   16 evidence relevant and material to their Monell claim that they have not already
   17 obtained (notwithstanding sworn discovery responses and repetitive testimony).
   18              Neither Sheriff Villanueva nor Fire Chief Osby possess any unique personal
   19 information, relevant to the actual claims in this case, that cannot be obtained via
   20 other sources. Plaintiffs’ conclusory statements that these individuals are
   21 “policymakers,” along with references to Sheriff Villanueva’s public comments to
   22 the press, fail to establish that these individuals “possess personal knowledge of
   23 facts critical to the outcome of the proceedings” that “cannot be obtained by other
   24 means.” Givens v. Newsom, No. 2:20-cv-0852-JAM-CKD, 2021 WL 65878, at *4
   25 (E.D. Cal. Jan. 7, 2021) (citation omitted). Plaintiffs’ discontent with these high-
   26 level officials is not a basis to make them sit for depositions that will not change the
   27 undisputed facts of this case.
   28
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    1         B.    Plaintiffs’ Statement
    2         “In our judicial system, the public has a right to every man’s evidence. Since
    3 the earliest days of the Republic, ‘every man’ has included even the President of the
    4 United States.” Trump v. Vance, 140 S. Ct. 2412, 2420 (2020); see also Clinton v.
    5 Jones, 520 U.S. 681, 704-05 (detailing history of presidents “respond[ing] to court
    6 orders to provide testimony”). The County of Los Angeles, however, appears to
    7 believe that this “ancient proposition of law,” United States v. Nixon, 418 U.S. 683,
    8 709 (1974), does not apply to the Sheriff of Los Angeles County or the Chief of the
    9 Los Angeles County Fire Department—even when they have been personally
   10 involved and made statements to the press about the events at issue in a case
   11 alleging that their departments violated the constitutional rights of the citizens they
   12 protect and serve. These officials take the position that they simply cannot sit for a
   13 deposition even as they press the Court for an order asking Plaintiffs—the victims—
   14 to do far more. With this motion, the County asks the Court to absolve them from
   15 having to provide any testimony at all, while with another motion they ask the Court
   16 to order the victims in this case (including children ages five, ten, and thirteen) to
   17 undergo involuntary psychiatric examinations on top of the depositions they have
   18 provided or will provide—implying that Plaintiffs’ distress at having images of their
   19 loved ones’ bodies shared in text messages and at bars and cocktail parties is
   20 feigned.
   21         Fortunately, this “good for thee but not for me” approach to discovery is not
   22 the law. Numerous courts have required sheriffs, including the Sheriff of Los
   23 Angeles County, to provide testimony like the ordinary citizens they serve. See
   24 Green v. Baca, 226 F.R.D. 624, 649 (C.D. Cal. 2005) (holding that Sheriff Lee Baca
   25 could be compelled to testify in Monell action because, “as Los Angeles County
   26 Sheriff, [he] is the final policymaker for the County in setting and implementing jail
   27 release policies”); Ahlman v. Barnes, 2021 WL 1570838, at * 5 (C.D. Cal. Mar. 9,
   28 2021) (sheriff subject to deposition in suit regarding COVID-19 policies in county
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    1 jail because “the best person to provide such information is the final policymaker,
    2 Sheriff Barnes”).
    3         This Court should do the same because Sheriff Villanueva and Chief Osby
    4 were personally involved in the events at issue in this case. After all, in their Rule
    5 26 disclosures, Defendants listed both Sheriff Villanueva and Chief Osby as persons
    6 likely to have discoverable information. That assertion alone should defeat their
    7 motion to prevent Plaintiffs from taking discovery via deposition. See, e.g., Bagley
    8 v. Blagojevich, 486 F. Supp. 2d 786, 789-90 (C.D. Ill. 2007) (allowing deposition of
    9 Illinois Governor where defendants had listed him their Rule 26 disclosures). So,
   10 too, should the fact that neither the Sheriff nor the Chief has submitted a declaration
   11 denying first-hand knowledge of the events at issue. Plaintiffs should not be
   12 required to take defense counsel’s word for what these key witnesses know.
   13         And there is reason to believe that they know a great deal. Sheriff Villanueva
   14 personally promised Mrs. Bryant that he would protect the remains of her husband
   15 and daughter from desecration by unauthorized photographers. He personally
   16 described the sharing of photos of human remains by law enforcement officers as a
   17 problem as old as the Polaroid camera, and he noted that police officers keep so-
   18 called “death books” of such photos. He personally stated that sharing photos of
   19 human remains “harm[s] people [who] suffered a tragedy already.” He personally
   20 described sharing photos of Plaintiffs’ loved ones’ remains as “wildly inappropriate”
   21 and “disgusting.” And, as the policymaker for the Sheriff’s Department, Sheriff
   22 Villanueva personally and publicly admitted that the Department’s policies
   23 regarding sharing photos of human remains were insufficient and personally
   24 directed the adoption of new policies. The Sheriff found time to make these
   25 statements in front of the cameras or a reporter’s tape recorder. He cannot hide now
   26 from addressing these issues at deposition.
   27         Nor can he avoid answering questions about his personal involvement in
   28 directing subordinates to delete evidence of misconduct alleged in a citizen
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    1 complaint related to the sharing of the photos. Other witnesses claim to not
    2 remember details of certain conversations with the Sheriff regarding this directive,
    3 so Plaintiffs need to clarify the record to test Defendants’ assertion that the Sheriff
    4 ordered the destruction of evidence to protect Plaintiffs rather than try to cover up
    5 misconduct. The reasons why the Sheriff ordered the destruction of evidence are
    6 relevant to his awareness of wrongdoing and whether spoliation occurred.
    7         Chief Osby, too, was personally involved in the events at issue. Discovery
    8 indicates that he spoke with Sheriff Villanueva about the improper sharing of photos
    9 just days after the crash. Only they can testify about those communications.
   10 Discovery also has revealed that Chief Osby was informed on January 31, 2020, that
   11 two members of his Department had improper photos of the victims’ remains in
   12 their possession. But Osby waited to conduct any meaningful investigation of those
   13 reports until March. Within that time, the photos were turned into cocktail-hour
   14 entertainment at a public awards show. Plaintiffs are entitled to ask Chief Osby
   15 himself about this delay, as it pertains to the likelihood the photos will someday
   16 surface and whether spoliation occurred.
   17         If all of that were not enough (and it is), both Villanueva and Osby are
   18 policymakers for their departments, which makes their testimony important for
   19 Plaintiffs’ claim that the departments’ lack of policies and training resulted in
   20 violations of their constitutional rights.
   21         Defendants’ counter-arguments are meritless. First, Defendants imply that
   22 Sheriff Villanueva’s dismissal in his personal capacity means that he has nothing to
   23 do with this case. That is incorrect, as the Court’s ruling did nothing to suggest that
   24 Sheriff Villanueva lacks knowledge of his employees’ conduct and violations of
   25 constitutional rights. Nor did the ruling imply that Sheriff Villanueva’s motivation
   26 for deleting evidence is irrelevant to a spoliation charge against Defendants, or that
   27 the Sheriff lacks knowledge relevant to whether his department bears liability for
   28 failing to train its employees and establish policies and procedures to protect
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    1 citizens’ constitutional privacy interest in the death images of family members.
    2         Second, Defendants criticize Plaintiffs both for taking too much discovery and
    3 not enough. While it is true that there are many people to depose, that is because at
    4 least fourteen County employees took, shared, or possessed improper photos of the
    5 Plaintiffs’ deceased family members, and numerous others witnessed their conduct
    6 or worked to cover it up. In an order signed by this court, Defendants
    7 acknowledged the large number of relevant witnesses by stipulating to forty
    8 depositions per side. But none of these witnesses can climb into Sheriff
    9 Villanueva’s mind and explain what he meant when saying that “death books” have
   10 been a problem in law enforcement since the invention of the Polaroid camera, nor
   11 can they explain Chief Osby’s mindset in failing to stop evidence from being
   12 deleted as he waited more than a month to investigate a claim that his firefighters
   13 had taken and obtained improper photos of the victims’ remains.
   14         In short, the “apex” doctrine cannot protect Sheriff Villanueva and Chief
   15 Osby from depositions in this case because discovery shows that their departments’
   16 involvement in the issues in this case went straight to the top. Defendants’ refusal to
   17 permit these depositions without a ruling from the Court, despite having listed the
   18 witnesses in their initial disclosures, is simply the latest example of forcing
   19 Plaintiffs to file motions to obtain obvious and important discovery—including the
   20 names of the wrongdoers, the Internal Affairs Bureau report, and documents related
   21 to the departments’ experience with improper photo sharing. Defendants’ motion
   22 for a protective order reflects an improper attempt to get a preview of deposition
   23 topics. It should be denied.
   24 II.     BACKGROUND
   25         A.    Defendants’ Statement
   26               1.     Overview of the Cases
   27         On September 17, 2020, Bryant filed a complaint in state court. On
   28 October 19, 2020, the County removed the case to this Court. [Bryant Dkt. 1.] On
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    1 November 18, 2020, the Court dismissed the Doe Defendants. [Dkt. 28.]
    2              On December 28, 2020, the Court granted the County’s motion to dismiss
    3 Sheriff Villanueva from the case, holding: “It defies common sense that Sheriff
    4 Villanueva’s instruction to delete the photos would somehow increase the risk of
    5 public dissemination of those very same photos or that Sheriff Villanueva’s conduct
    6 would cause Plaintiff additional emotional distress.” [Dkt. 46.]
    7              Bryant’s operative complaint includes claims for Monell liability, negligence,
    8 and invasion of privacy arising out of County employees allegedly showing photos
    9 from the January 26, 2020 helicopter crash to other government personnel and to
   10 one friend. [Dkt. 54.]
   11              Chester filed the operative complaint on May 3, 2021. [Chester Dkt. 45.] It
   12 included the same claims as Bryant’s complaint, plus a standalone claim under 42
   13 U.S.C. § 1983. [Id.] Mauser and Altobelli, who initially filed their complaints in
   14 state court, allege the same claims as Chester, with the addition of a claim for
   15 intentional infliction of emotional distress.
   16              Chester, Mauser, and Altobelli all voluntarily dismissed Sheriff Villanueva.
   17 (Declaration of Emily A. Rodriguez-Sanchirico (“Rodriguez-Sanchirico Decl.”)
   18 ¶ 5.) Because he was dismissed from Bryant, he is not a defendant in any of the
   19 related cases. (Id.) Fire Chief Osby was never named as a defendant in any of the
   20 four related cases. (Id.)
   21                     2.     Overview of Discovery
   22              Defendants have worked diligently to provide Plaintiffs with all the
   23 information they believe they need to support their claims. Discovery in this case
   24 has been extensive. (Rodriguez-Sanchirico Decl. ¶ 6.) Defendants have produced
   25 over 30,000 pages of documents. (Id.) Defendants also consented to a neutral
   26 forensic examination of over 20 devices. [Dkt. 96.] That process is underway.
   27 (Rodriguez-Sanchirico Decl. ¶ 7.)
   28              Plaintiffs intend to take 40 depositions. (Id. ¶ 8; see Dkt. 91.) To date, they
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    1 have taken 13. (Rodriguez-Sanchirico Decl. ¶ 8.) There are approximately 20 more
    2 set for October and November. (Id.) The 10 depositions include two LACFD
    3 30(b)(6) witnesses: Chief Anthony Marrone and Chief William McCloud. (Id. ¶ 9.)
    4 Chief Marrone was at the crash site and involved in the early stages of learning
    5 about potential improper sharing of scene photos. (Id.) Chief McCloud, who was
    6 the head of the Leadership and Professional Standards Bureau, was the lead for the
    7 internal investigation that followed. (Id.) These two witnesses covered 23 topics.
    8 (Id. & Ex. A.) Plaintiffs also deposed an LACFD Captain and a Chief who was the
    9 incident commander on the day of the helicopter crash. (Id.)
   10              With respect to LASD witnesses, Plaintiffs have already deposed Sergeant
   11 Marcus Phillips and Lieutenant Hector Mancinas. (Id. ¶ 10.) Sergeant Phillips and
   12 Lieutenant Mancinas were charged with interviewing 28 deputies, reserve deputies,
   13 sergeants, and Malibu Search and Rescue civilian volunteers to carry out Sheriff
   14 Villanueva’s directive to ascertain the existence of any crash site photos that
   15 contained the victims’ remains, halt any improper dissemination, and identify any
   16 additional personnel who could have shared photos. (Id.) Plaintiffs have also
   17 deposed the Captain of the Sheriff’s Information Bureau, the division that received
   18 the citizen’s complaint, and Sheriff Villanueva’s Chief of Staff. (Id.) Those two
   19 individuals received orders directly from Sheriff Villanueva and conveyed those
   20 orders to Lieutenant Mancinas. (Id.) Plaintiffs have not pursued an LASD 30(b)(6)
   21 deposition.2 (Id. ¶ 11.)
   22
   23   2
          Defendants sent Plaintiffs their portion of the joint stipulation regarding this
   24   motion on October 6, 2021. On October 8, 2021, Plaintiffs served an LASD
        30(b)(6) notice and asked for six other high level LASD depositions, including the
   25   Undersheriff, an Assistant Sheriff, a Chief, and the Commander and Captain who
   26   had verified prior discovery responses. The 30(b)(6) notice contains 18 multipart
        topics. Plaintiffs did not meet and confer with anyone before serving it, nor did they
   27   explain why they waited until the month before the discovery cutoff to pursue those
   28   18 topics (or any of the other depositions). (Rodriguez-Sanchirico Decl. ¶ 11 n.2 &
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    1              On August 10, 2021, Defendants served deposition notices for all Plaintiffs.
    2 (Id. ¶ 12.) Defendants have also noticed the depositions of seven third-party
    3 witnesses who Plaintiff Bryant identified as having knowledge relevant to her
    4 claims. (Id.) Plaintiff Bryant has yet to provide available dates for any of the third-
    5 party witnesses. (Id.)
    6              Plaintiffs took the LACFD 30(b)(6) depositions on May 20, 2021 and June 3,
    7 2021. (Id. ¶ 13.) Plaintiffs did not serve another deposition notice until August 17,
    8 2021, when they noticed eight LASD/LACFD depositions. (Id.)
    9              On August 30, 2021, Defendants emailed Plaintiffs to coordinate scheduling.
   10 (Id. ¶ 14.) The parties were able to set five depositions for September. (Id.) Those
   11 depositions included a very time-consuming 30(b)(6) for the Department of
   12 Medical-Examiner Coroner. (Id. & Ex. C.)
   13              On September 14, 2021, Plaintiffs asked for availability for four other
   14 deponents, including one LASD witness, one LACFD witness, Sheriff Villanueva,
   15 and Fire Chief Osby. (Id. ¶ 15.) On September 27, 2021, Plaintiffs asked us to
   16 provide dates for 11 additional LASD/LACFD witnesses. (Id.) Defendants
   17 provided availability on an almost daily basis between September 27, 2021 and
   18 present. (Id.) The parties were able to set over 20 depositions for October and
   19 November. (Id. & Ex. D.)
   20              Defendants have also responded to Plaintiffs’ interrogatories with substantive,
   21 verified responses. (Id. ¶ 16.) The most recent set asked for information about
   22 LASD training and policies, which Defendants provided. (Id. & Ex. E.)
   23
   24
   25 Ex. B.) Many of the topics seek the exact information Plaintiffs now contend they
   26 can only get from Sheriff Villanueva. (Id. Ex. B.) For example, Plaintiffs are
      asking for all “facts and circumstances related to the deletion or destruction of any
   27 PHOTOS” and “training and instruction” and “polices, practices, and procedures”
   28 relating to six different topics. (Id.)
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    1         B.    Plaintiff’s Statement
    2               1.     Overview of the Cases
    3         Plaintiffs—the surviving family members of Kobe and Gianna Bryant; Sarah
    4 and Payton Chester; John, Keri, and Alyssa Altobelli; and Christina Mauser—have
    5 brought this action because County employees took gratuitous photographs of their
    6 loved ones’ remains and then improperly shared those photos with others.
    7         Plaintiffs allege that the Sheriff’s Department’s and Fire Department’s acts
    8 were negligent, invaded their right to privacy under California law, and violated
    9 their substantive due process rights under the U.S. Constitution to control the
   10 physical remains, memory, and images of their deceased loved ones. See Marsh v.
   11 Cnty. of San Diego, 680 F.3d 1148 (9th Cir. 2012). Contrary to Defendants’
   12 characterization, Plaintiffs have never stated that the extent of public dissemination
   13 of the photos was limited to “one friend.” Indeed, Deputy Cruz alone has admitted
   14 that he showed crash-scene photos to both his niece and a bartender, and video
   15 evidence also shows him displaying his phone to an apparent stranger who was
   16 seated next to him at a bar. (Lavoie Decl. ¶ 19.) In addition, Defendants’
   17 destruction of evidence has prevented Plaintiffs from fully reconstructing the scope
   18 of the improper sharing of the photos. Rather, as Plaintiffs have alleged, the most
   19 reasonable inference based on the evidence is that Defendants’ personnel “shared
   20 photos of [the victims’] remains with multiple people, including members of the
   21 public, without any legitimate governmental purpose.” (Lavoie Decl. Ex. A (Bryant
   22 FAC) ¶ 69.)
   23         Late last year, Judge Walter dismissed a single negligence claim against
   24 Sheriff Villanueva in the Bryant case, analyzing California case law to hold that
   25 Sheriff Villanueva did not owe Mrs. Bryant a legal duty to protect the crash scene
   26 from improper photography or to refrain from ordering deletion of the photos at a
   27 time when no effort had been made to track their dissemination. (Dkt. 46 at 4-8.)
   28 The Court noted that it was “not minimizing the reprehensibility of the conduct at
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    1 issue in this case,” and it did not opine on whether Sheriff Villanueva’s deletion
    2 order might constitute spoliation attributable to his employers. (Id. at 8.)
    3                2.     Overview of Discovery
    4         The County and Sheriff’s Department served their operative Rule 26
    5 disclosures in this case on December 4, 2020. (Lavoie Decl. Ex. B (COLA/LASD’s
    6 Suppl. Disclosures).) Beneath the heading “Individuals Likely to Have
    7 Discoverable Information,” the disclosures identified Sheriff Villanueva as a person
    8 who “may have discoverable information regarding their defenses.” (Id at 2-3.)
    9 Similarly, the Deputy Defendants’ disclosures, served on April 27, 2021, listed
   10 Sheriff Villanueva. (Lavoie Decl. Ex. C (Deputy Defendants’ Disclosures) at 4.)
   11 And when the Fire Department provided its disclosures on the same date, they
   12 included Chief Daryl Osby. (Lavoie Decl. Ex. D (LAFD Disclosures) at 4.)
   13         In the spring of 2021, Plaintiffs and Defendants began discussing the
   14 consolidation of discovery across the four separate related lawsuits. In an email to
   15 Defendants on March 30, 2021, Plaintiffs wrote: “[A]ttached is a list of people we
   16 intend to depose.” (Lavoie Decl. Ex. E (Email re Consolidation) at 4.) “If
   17 Defendants object to any of these individuals being deposed, please let us know.”
   18 (Id.) Sheriff Villanueva and Chief Osby were on Plaintiffs’ list. (Lavoie Decl. ¶ 7.)
   19 When Defendants finally responded on April 20, they wrote: “It’s hard to say in the
   20 abstract whether we object to any of these depositions, particularly when some of
   21 the deponents are third parties. Nothing strikes us as objectionable right now, other
   22 than the number (I count 57 here).” (Lavoie Decl. Ex. E (Email re Consolidation) at
   23 1 (emphasis added).)
   24         Without any indication from Defendants that they intended to block
   25 depositions of Villanueva or Osby, the parties subsequently reached a stipulated
   26 agreement regarding the number of depositions that was ordered by this Court:
   27 “Plaintiffs collectively shall have the right to take 40 total depositions, and
   28 Defendants collectively shall have the right to take 40 total depositions.” (Lavoie
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    1 Decl. Ex. G (Consolidation Order) at 2.) Plaintiffs have not exceeded this stipulated
    2 limit. To the extent that Plaintiffs have taken numerous depositions, that simply
    3 reflects the number of people involved in the improper conduct. No fewer than
    4 fourteen members of the Sheriff’s Department and Fire Department are known to
    5 have taken, shared, or possessed improper photos of the victims’ remains. (Lavoie
    6 Decl. ¶ 19.) In addition, numerous witnesses have direct personal knowledge of
    7 their behavior, such as the citizen complainants, the bartender, and individuals to
    8 whom the graphic photos were displayed. (Id.) Finally, Plaintiffs have needed to
    9 depose individuals who were involved in the Sheriff’s Department’s destruction of
   10 evidence. (Id.)
   11         Defendants’ implication that Plaintiffs have procrastinated in taking
   12 depositions is false. Rather, depositions are occurring now because Defendants
   13 were slow to produce documents and still have not completed their document
   14 production. Mrs. Bryant propounded document requests in mid-November 2020,
   15 but Defendants did not produce a single record until this Court granted Mrs.
   16 Bryant’s motion to compel the IA Report in January 2021. (Lavoie Decl. ¶ 21.)
   17 Then, notwithstanding the Court’s order, Defendants failed to produce the exhibits
   18 to the IA Report—approximately 2,200 records—until March 26, 2021. (Id.)
   19 Roughly 6,900 records then trickled out across April, May, and July, but Defendants
   20 are still not done. (Id.) They have made three document productions in September
   21 and another three (so far) in October. (Id.) Defendants bear responsibility for the
   22 compressed deposition schedule.
   23 III.    MEET AND CONFER EFFORTS
   24         A.    Defendants’ Statement
   25         On September 29, 2021, Defendants asked Plaintiffs to identify the unique
   26 personal knowledge they thought Fire Chief Osby had that had not been covered by
   27 the two LACFD 30(b)(6) witnesses. (Rodriguez-Sanchirico Decl. ¶ 17 & Ex. F.)
   28 The parties set a Zoom conference for October 1, 2021. (Id.) On October 1, 2021,
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    1 Defendants emailed Plaintiffs to let them know that they had the same questions for
    2 Sheriff Villanueva. (Id. ¶ 18.)
    3              Later that day, Plaintiffs responded and called Defendants’ position on the
    4 apex deposition of Sheriff Villanueva “absurd.” (Id. ¶ 19.) Bryant’s attorney
    5 informed Defendants that they would “not allow a situation where Sheriff
    6 Villanueva fails to sit for a full day of deposition.” (Id.)
    7              Bryant’s attorney also stated: “Plaintiffs collectively want you to know that
    8 none of our clients will be sitting for deposition unless we have a locked-in date for
    9 a full day of testimony with Sheriff Villanueva.” (Id. ¶ 20.) As set forth above,
   10 Defendants had noticed Plaintiffs’ depositions on August 10, 2021. (Id.) The
   11 depositions were set for October 8, 12, 19, and 20. (Id.) The discovery cutoff in
   12 this case is November 29, 2021, which is also the last day to hear discovery motions.
   13 [Dkt. 86.] The last day to hear any motions is December 20, 2021. [Id.]
   14              The parties met and conferred via Zoom at 4:00 p.m. on October 1, 2021.
   15 (Rodriguez-Sanchirico Decl. ¶ 21.) The parties were unable to resolve their
   16 differences. (Id.) Email correspondence continued between October 3, 2021 and
   17 October 4, 2021. (Id. ¶ 22 & Ex. F) No resolution was possible. (Id.)
   18              B.    Plaintiffs’ Statement
   19              Although Plaintiffs were concerned about being subjected to hours upon
   20 hours of emotionally wrenching depositions while Sheriff Villanueva avoided
   21 questioning altogether, Plaintiffs take their discovery obligations seriously and
   22 informed defense counsel that their depositions would remain on calendar. (Lavoie
   23 Decl. ¶ 3.) On October 12, 2021, Plaintiff Vanessa Bryant was deposed, and
   24 depositions of the other adult plaintiffs are set to be completed by the end of
   25 October. (Id.)
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    1 IV.     ARGUMENT
    2         A.    Defendants’ Statement
    3               1.     Legal Standard
    4         Under Federal Rule of Civil Procedure 26, the court may issue a protective
    5 order “to protect a party or person from annoyance, embarrassment, oppression, or
    6 undue burden or expense.” Fed. R. Civ. P. 26(c)(1). Courts routinely recognize that
    7 depositions of high-level executives, in particular, create “a tremendous potential for
    8 abuse or harassment.” Apple Inc. v. Samsung Elecs. Co., Ltd., 282 F.R.D. 259, 263
    9 (N.D. Cal. 2012) (citation omitted) (granting motion for protective order for one
   10 high-level executive and limiting the duration of others to two or three hours).
   11         As for heads of government agencies, they “are not normally subject to
   12 deposition,” absent extraordinary circumstances. Kyle Eng’g Co. v. Kleppe, 600
   13 F.2d 226, 231 (9th Cir. 1979) (affirming order directing agency head to answer
   14 interrogatories in lieu of sitting for a deposition). This rule protects officials “from
   15 discovery that will burden the performance of their duties, particularly given the
   16 frequency with which such officials are likely to be named in lawsuits.” Coleman v.
   17 Schwarzenegger, No. CIV S-90-0520 LKK JFM P, 2008 WL 4300437, at *2 (E.D.
   18 Cal. Sept. 15, 2008) (granting in part motion for reconsideration of order requiring
   19 high-level officials to submit to depositions). It also protects the officials “from
   20 unwarranted inquiries into their decision-making process.” Id. (citing United States
   21 v. Morgan, 313 US. 409, 422 (1941)).
   22         To establish the “extraordinary circumstances” necessary to justify the
   23 deposition of a head of a government agency, the party seeking the deposition must
   24 show that the individual has (i) direct personal factual information pertaining to
   25 material issues in an action, and (ii) the information to be gained is not available
   26 through any other sources. 2008 WL 4300437, at *2 (citing Bogan v. City of
   27 Boston, 489 F.3d 417, 423 (1st Cir. 2007)). Despite Plaintiffs’ claims to the
   28 contrary, courts routinely apply Coleman’s “extraordinary circumstances”
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    1 framework in determining whether depositions of high-ranking government officials
    2 are justified.3
    3              District courts in the Ninth Circuit have articulated additional factors the party
    4 seeking the deposition must establish: “(1) the official’s testimony is necessary to
    5 obtain relevant information that is not available from another source; (2) the official
    6 has first-hand information that cannot reasonably be obtained from other sources;
    7 (3) the testimony is essential to the case at hand; (4) the deposition would not
    8 significantly interfere with the ability of the official to perform his government
    9 duties; and (5) the evidence sought is not available through less burdensome means
   10 or alternative sources.” Myles v. County of San Diego, No. 15cv1985-BEN (BLM),
   11 2016 WL 4366543, at *3 (S.D. Cal. Aug. 15, 2016) (quoting Thomas v. Cate, No.
   12 1:05-cv-01198-LJO-JMD-HC, 2010 WL 1343789, at *1 (E.D. Cal. Apr. 5, 2010)).
   13                    2.     Sheriff Villanueva and Fire Chief Osby Are “Apex” Officials
   14              The first step of the apex inquiry is to determine whether the witnesses
   15 qualify as high-ranking officials. Both Sheriff Villanueva (the head of LASD) and
   16 Fire Chief Osby (the head of LACFD) are. See K.C.R., 2014 WL 3434257, at *6
   17 (holding that both sheriffs and undersheriffs are “high-ranking officials” deserving
   18 of the apex doctrine’s protection (citation omitted)); Estate of Levingston v. County
   19
        3
   20     See, e.g., Givens, 2021 WL 65878, at *6 (holding no “extraordinary
        circumstances” present where moving party failed to show that no other person from
   21   the Governor’s administration possessed the information sought from Governor’s
   22   deposition); Soto v. County of Sacramento, No. 2:19-cv-0910 TLN DB, 2020 WL
        5110372, at *1 (E.D. Cal. Aug. 31, 2020) (no “extraordinary circumstances” where
   23   moving party could only point to “vague and conclusory concepts” regarding
   24   Sheriff’s personal knowledge of incident); K.C.R. v. County of Los Angeles, No. CV
        13-3806 PSG (SSx), 2014 WL 3434257, at *7 (C.D. Cal. July 11, 2014) (no
   25   “extraordinary circumstances” justified deposition of Undersheriff who did not have
   26   first-hand knowledge of specific incident at issue); Jarbo v. County of Orange, No.
        SACV 05-00202-JVS, 2010 WL 3584440, at *2 (C.D. Cal. Aug. 30, 2010) (no
   27   “extraordinary circumstances” where it was “not obvious” that Sheriff had personal
   28   factual information that was not available through other sources).
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    1 of Kern, 320 F.R.D. 520, 526 (E.D. Cal. 2017) (“[C]ourts throughout the Ninth
    2 Circuit have determined that the position of sheriff is a high-ranking official to
    3 whom the apex doctrine may apply.”) (granting motion for protective order). It does
    4 not appear that Plaintiffs contest that Sheriff Villanueva and Fire Chief Osby qualify
    5 as apex officials.
    6         Rather than contest that Sheriff Villanueva and Fire Chief Osby are apex
    7 officials, Plaintiffs instead argue that because these individuals appear on
    8 Defendants’ initial disclosures, they are not entitled to the protection of the apex
    9 doctrine. Plaintiffs have no basis for this contention. Only one of the cases cited by
   10 Plaintiffs, Bagley v. Blagojevich, involved a government official apex witness. 486
   11 F. Supp. 2d 786 (C.D. Ill. 2007). In Bagley, the court did not permit an apex
   12 deposition solely because the official appeared on the initial disclosures list; the
   13 court granted the request for the deposition after conducting the relevant apex
   14 doctrine analysis. See id. at 789-90. None of the other cases cited by Plaintiffs
   15 involve apex governmental officials. In fact, none of the cases cited by Plaintiffs in
   16 footnote 9 involve apex witnesses at all. The fact that Sheriff Villanueva and Fire
   17 Chief Osby are identified in Defendants’ Rule 26 disclosures is immaterial to the
   18 issue of whether they should be subjected to depositions in this case.
   19               3.     “Extraordinary Circumstances” Are Not Present Here
   20         Plaintiffs’ claims include a 42 U.S.C. § 1983 violation, Monell, negligence,
   21 invasion of privacy, and intentional infliction of emotional distress. The County and
   22 its departments are only directly named on the Monell claim. The inquiry is thus
   23 whether Sheriff Villanueva and Fire Chief Osby have any relevant, first-hand
   24 information essential to the Monell claim that cannot be obtained through less
   25 burdensome means or alternative sources. Myles, 2016 WL 4366543, at *3.
   26                      (a)    Sheriff Villanueva
   27         Plaintiffs cannot get past step one, because they can obtain all relevant
   28 information from other sources. In meet and confer correspondence, they raised a
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    1 list of 14 things they need to ask the Sheriff about. (Rodriguez-Sanchirico Decl.
    2 Ex. E.) In general, those topics fall within five categories: (i) the Sheriff’s directives
    3 regarding how he wanted his subordinates to handle the allegations that a deputy
    4 might have improperly shared accident site photos; (ii) the Sheriff’s public
    5 comments; (iii) the Sheriff’s communications (or the perceived lack thereof) with
    6 the Plaintiffs; (iv) communications with Fire Chief Osby; and (v) LASD policies
    7 and practices regarding photos, including changes thereto.
    8                             (i)    The Sheriff’s Directives
    9         Plaintiffs want to know more about Sheriff Villanueva’s instruction to his
   10 subordinates. (Rodriguez-Sanchirico Decl. Ex. E.) That instruction was the focus
   11 of Plaintiffs’ claims against Sheriff Villanueva. On December 28, 2020, the Court
   12 granted the County’s motion to dismiss Sheriff Villanueva from the case, holding:
   13 “It defies common sense that Sheriff Villanueva’s instruction to delete the photos
   14 would somehow increase the risk of public dissemination of those very same photos
   15 or that Sheriff Villanueva’s conduct would cause Plaintiff additional emotional
   16 distress.” [Dkt. 46.] Sheriff Villanueva is not a defendant, and the idea that his
   17 instruction to make sure no photos were disseminated caused Plaintiffs harm—as
   18 required to establish a Monell violation—”defies common sense.” [Id.]
   19         In any event, Plaintiffs already deposed Sergeant Marcus Phillips and
   20 Lieutenant Hector Mancinas. (Rodriguez-Sanchirico Decl. ¶ 10.) Sergeant Phillips
   21 and Lieutenant Mancinas were charged with interviewing 28 deputies, reserve
   22 deputies, sergeants, and Malibu Search and Rescue civilian volunteers to carry out
   23 Sheriff Villanueva’s directive to ascertain the existence of any crash site photos that
   24 contained the victims’ remains, halt any improper dissemination, and identify any
   25 additional personnel who could have shared photos. (Id.)
   26         Plaintiffs also deposed the Captain of the Sheriff’s Information Bureau, the
   27 division that received the citizen’s complaint, and Sheriff Villanueva’s Chief of
   28 Staff. (Id.) Those two individuals received orders directly from Sheriff Villanueva
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    1 and communicated them down the chain to Sergeant Phillips/Lieutenant Mancinas
    2 (who Plaintiffs already deposed) and Captain Matthew Vander Horck (who
    3 Plaintiffs are also deposing). (Id.) Plaintiffs are also deposing any individuals who
    4 stated that they had photos and deleted them. (Id. ¶ 11.)
    5                             (ii)    The Sheriff’s Public Comments
    6         Plaintiffs allege that they can establish Monell liability because Sheriff
    7 Villanueva said something publicly about “death books.” (First Amended
    8 Complaint (“FAC”) ¶ 51.) That quote is clearly, on its face, not talking about
    9 LASD. (Id.) Regardless, multiple witnesses (including the Sheriff’s Chief of Staff)
   10 have already testified that LASD had never dealt with this issue (sharing photos that
   11 contained death images), and Defendants served verified discovery responses saying
   12 the same. (Rodriguez-Sanchirico Decl. Ex. D.) If Plaintiffs contend they need
   13 more, they can pursue that topic at a 30(b)(6) deposition (which they finally asked
   14 for on October 8, 2021) or ask a subject matter expert (like one of the individuals
   15 who verified the County’s discovery responses). (Id. ¶ 11 n. 2.)
   16                             (iii)   Communications between the Sheriff and
   17                                     Plaintiffs
   18         It strains credulity to suggest that Plaintiffs need to depose Sheriff Villanueva
   19 to ask him about his communications with them. First, this testimony is not
   20 “essential” to the case at hand, nor does it pertain to “material issues.” Myles, 2016
   21 WL 4366543, at *3 (citation omitted); Levingston, 320 F.R.D. at 525 (citation
   22 omitted). Second, this information can “reasonably be obtained from other
   23 sources”—Plaintiffs themselves. Myles, 2016 WL 4366543, at *3 (citation omitted).
   24                             (iv)    Communications between the Sheriff and Fire
   25                                     Chief Osby
   26         As with the communications between Sheriff Villanueva and Plaintiffs, this
   27 testimony is not “essential” and does not pertain to “material issues” in the case.
   28 Myles, 2016 WL 4366543, at *3 (citation omitted); Levingston, 320 F.R.D. at 525
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    1 (citation omitted). What Sheriff Villanueva may or may not have said to Chief
    2 Osby does not relate to Plaintiffs’ claims and is not the conduct that is alleged to
    3 have caused any harm to Plaintiffs. (See generally FAC.)
    4                             (v)   LASD Policies and Practices
    5         Plaintiffs are entitled to information about LASD’s policies and practices
    6 regarding scene photography and related issues. The question is whether Sheriff
    7 Villanueva has “direct personal factual information” about LASD policies and
    8 practices that “is not available from another source.” Levingston, 320 F.R.D. at 525
    9 (citation omitted); Myles, 2016 WL 4366543, at *3 (citation omitted). Plaintiffs
   10 cannot satisfy their burden on either front. They can obtain, and have obtained, this
   11 information from other sources—including other witnesses, interrogatories, and
   12 document requests. (See, e.g., Rodriguez-Sanchirico Decl. Ex. E.)
   13         If Plaintiffs contend they need more, they can pursue an LASD 30(b)(6)
   14 deposition. (Id. ¶ 11 n.2.) In fact, Plaintiffs finally asked for a 30(b)(6) deposition
   15 on October 8, 2021, two days after receiving Defendants’ portion of this joint
   16 statement. (Id.) In that same email, Plaintiffs also asked to depose the individuals
   17 who verified the County’s discovery responses, including the Captain of LASD’s
   18 Training Bureau. (Id.)
   19         The fact that Sheriff Villanueva ultimately approves the final policies does not
   20 justify subjecting him to deposition. Levingston, 320 F.R.D. at 528. There is no
   21 evidence that he was personally involved in the process. Plaintiffs can obtain
   22 whatever information they need about policies, practices, procedures, and training
   23 from the employees who “develop, administer and train on these policies.” Id.
   24 Indeed, they are concurrently pursuing the depositions of those individuals.
   25 (Rodriguez-Sanchirico Decl. ¶ 11 n.2 & Ex. B.)
   26         At bottom, there is no reason why an elected official at the helm of the largest
   27 sheriff’s department in the world should be subjected to a deposition that could be
   28 handled by any number of his subordinate officers.
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    1                           (b)   Fire Chief Osby
    2              With respect to Fire Chief Osby, Plaintiffs have said only that he is the top
    3 “decision maker” for LACFD and that he spoke to Sheriff Villanueva about alleged
    4 sharing of accident site photos. (Rodriguez-Sanchirico Decl. ¶ 21.)
    5              The “decision maker” rationale does not justify the need to deviate from the
    6 general rule regarding depositions of agency heads. Plaintiffs already deposed two
    7 LACFD 30(b)(6) witnesses: Chief Anthony Marrone and Chief William McCloud.
    8 (Id. ¶ 9.) Chief Marrone was at the crash site and involved in the early stages of
    9 learning about potential improper sharing of scene photos. (Id.) Chief McCloud,
   10 who was the head of the Leadership and Professional Standards Bureau, was the
   11 lead for the internal investigation that followed. (Id.) These two witnesses covered
   12 23 topics. (Id. & Ex. A.) Those topics included:
   13               All training and instruction provided by the FIRE DEPARTMENT to
   14                 FIRE DEPARTMENT PERSONNEL on or before January 26, 2020,
   15                 related to (a) taking, obtaining, possessing, using, and/or SHARING
   16                 PHOTOS of accident scenes, emergency scenes, and human remains; and
   17                 (b) the handling or treatment of human remains.
   18               All FIRE DEPARTMENT policies in place on January 26, 27, and 28,
   19                 2020 regarding (a) PHOTOS of accident scenes, emergency scenes, and
   20                 human remains; (b) handling and treatment of human remains; (c) use of
   21                 personal cell phones by FIRE DEPARTMENT PERSONNEL to take
   22                 photos or videos while on duty; and (d) the handling and/or confidentiality
   23                 of information or materials involving celebrities.
   24               Whether and in what respect FIRE DEPARTMENT policies in place on
   25                 January 26, 27, and 28, 2020 prohibited FIRE DEPARTMENT
   26                 PERSONNEL from using personal or department-owned devices to take,
   27                 obtain, possess, use, or SHARE PHOTOS of accident scenes, emergency
   28                 scenes, and human remains.
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    1          All training and instruction that has been provided by the FIRE
    2            DEPARTMENT to FIRE DEPARTMENT PERSONNEL since
    3            January 26, 2020, related to (a) taking, obtaining, possessing, using, and/or
    4            SHARING PHOTOS of accident scenes, emergency scenes, and human
    5            remains; and (b) the handling or treatment of human remains.
    6          All FIRE DEPARTMENT policies in place on January 1, 2021 regarding
    7            (a) PHOTOS of accident scenes, emergency scenes, and human remains;
    8            (b) handling and treatment of human remains; (c) use of personal cell
    9            phones by FIRE DEPARTMENT PERSONNEL while on duty; (d) the
   10            handling and/or confidentiality of information or materials involving
   11            celebrities; and (e) the preservation of evidence of potential violations of
   12            law or constitutional rights by FIRE DEPARTMENT PERSONNEL.
   13          Whether and in what respect FIRE DEPARTMENT policies in place on
   14            January 1, 2021 prohibited FIRE DEPARTMENT PERSONNEL from
   15            using personal or department-owned devices to take, obtain, possess, use,
   16            or SHARE PHOTOS of accident scenes, emergency scenes, and human
   17            remains.
   18         If Plaintiffs are still not satisfied after two days of 30(b)(6) depositions
   19 covering 23 topics, they can (i) serve interrogatories; or (ii) depose subordinate
   20 employees who have more direct knowledge of LACFD policies, procedures, and
   21 training. Levingston, 320 F.R.D. at 528 (holding that party could obtain information
   22 about policies from the employees who “develop, administer and train on these
   23 policies”). Plaintiffs have already deposed an LACFD Captain and a Chief who was
   24 the incident commander on the day of the helicopter crash. (Rodriguez-Sanchirico
   25 Decl. ¶ 9.)
   26         As for the communications with Sheriff Villanueva, that testimony is not
   27 “essential” and does not pertain to “material issues” in the case. Myles, 2016 WL
   28 4366543, at *3 (citation omitted); Levingston, 320 F.R.D. at 525 (citation omitted).
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    1               4.     Interference with Performance of Government Duties
    2         Plaintiffs must explain why “the deposition[s] would not significantly
    3 interfere with the ability of the official to perform his government duties.” Myles,
    4 2016 WL 4366543, at *3 (citation omitted). They cannot. Plaintiffs want to depose
    5 the heads of two of the largest municipal departments in the country for full, seven-
    6 hour depositions. Taking them away from their official duties and making
    7 “unwarranted inquiries into their decision-making process[es]” are exactly what the
    8 apex doctrine protects against. Coleman, 2008 WL 4300437, at *2. Strikingly,
    9 Plaintiffs fail to address the issue of these depositions interfering with the official
   10 duties of Sheriff Villanueva and Fire Chief Osby. This interference is particularly
   11 significant for Fire Chief Osby, whose department is currently on high alert as the
   12 County is in the midst of wildfire season.
   13               5.     Alternatives or Limitations Must Be Considered
   14         Plaintiffs must show that “the evidence sought is not available through less
   15 burdensome means or alternative sources.” Myles, 2016 WL 4366543, at *3
   16 (citation omitted). They cannot. Plaintiffs have already deposed the Sheriff’s Chief
   17 of Staff and the Captain of the Sheriff’s Information Bureau. (Rodriguez-Sanchirico
   18 Decl. ¶ 10.) They did not seek the depositions of anyone from the Internal Affairs
   19 Bureau or the Professional Standards Division (despite individuals from those
   20 departments verifying Defendants’ interrogatory responses), or an LASD 30(b)(6)
   21 deposition, until after receiving Defendants’ portion of this joint statement. (Id. ¶
   22 11 n.2.) Levingston, 320 F.R.D. at 528 (holding that party could obtain information
   23 about policies from the employees who “develop, administer and train on these
   24 policies”).
   25         Plaintiffs’ delay in pursuing depositions in this case is not a reason to allow
   26 them to leapfrog to the apex of the County hierarchy. It is unclear why Plaintiffs
   27 only took two LACFD depositions, and zero LASD depositions, between January 1,
   28 2021 and August 17, 2021 (when they finally emailed to ask for dates for eight
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    1 LASD/LACFD witnesses). (Rodriguez-Sanchirico Decl. ¶ 13.)
    2         Plaintiffs attempt to brush aside the requirement that they exhaust other
    3 discovery methods prior to seeking apex depositions, claiming that this is not “an
    4 absolute requirement,” but is merely “important.” Plaintiffs are wrong. Courts
    5 routinely refuse to allow apex depositions where other means of discovery have yet
    6 to be completed. For example, in Estate of Silva by and through Allen v. City of San
    7 Diego, the court precluded the taking of the defendant sheriff’s deposition, despite
    8 the sheriff possessing personal knowledge on relevant issues in the case, because the
    9 plaintiffs did not “exhaust[] less intrusive means of discovery before seeking [the
   10 sheriff’s] deposition.” No. 18cv2282-L (MSB), 2021 WL 211613, at *5 (S.D. Cal.
   11 Jan. 21, 2021). Similarly, in Soto v. County of Sacramento, the court granted a
   12 protective order preventing the deposition of the sheriff, who was a named
   13 defendant, because the plaintiffs had “only deposed some of the named defendants”
   14 and had not conducted any 30(b)(6) depositions. 2020 WL 5110372, at *2.
   15         Indeed, Plaintiffs’ own cases support the proposition that an apex deposition
   16 of the head of a municipal department, such as a sheriff, is only appropriate after all
   17 other means of discovery have been completed. See, e.g., Ahlman v. Barnes, 2021
   18 WL 1570838, at *7-8 (denying motion for protective order after plaintiffs
   19 demonstrated they could not get information through other means, including
   20 deposing numerous 30(b)(6) witnesses on the topics plaintiffs identified). To the
   21 extent the Court determines that Sheriff Villanueva and/or Fire Chief Osby have
   22 unique personal knowledge that cannot be obtained from other witnesses or an
   23 LASD 30(b)(6) deposition on the topics Plaintiffs contend need addressing,
   24 Defendants respectfully request that Plaintiffs be ordered to use interrogatories to
   25 obtain that information. Kyle Eng’g Co., 600 F.2d at 231 (affirming order directing
   26 agency head to answer interrogatories in lieu of sitting for a deposition). Plaintiffs
   27 have only served 29 interrogatories; the parties agreed they could serve up to 50.
   28 (Rodriguez-Sanchirico Decl. ¶ 16; see Dkt. 91.)
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    1              If the Court determines that alternative forms of discovery are not viable here,
    2 and that apex depositions are essential, Defendants respectfully request that the
    3 Court limit the depositions in duration (to two hours) and scope (to unique personal
    4 knowledge that Plaintiffs have established they cannot obtain from other sources).
    5 Apple Inc., 282 F.R.D. at 265-69 (granting motion for protective order for
    6 deposition of one high-level executive and limiting the duration of others to two or
    7 three hours).
    8              B.    Plaintiffs’ Statement
    9                    1.     Legal Standard.
   10              Defendants misstate the legal standard for apex depositions in three respects.
   11              First, Defendants’ own authority shows that Defendants, not Plaintiffs, bear
   12 the burden of showing why Villanueva and Osby should not be deposed: “[A] party
   13 seeking to prevent a deposition carries a heavy burden to show why discovery
   14 should be denied.” Apple Inc. v. Samsung Elecs. Co., 282 F.R.D. 259, 263 (N.D.
   15 Cal. 2012) (citation omitted).4 In light of this heavy burden, “it is very unusual for a
   16 court to prohibit the taking of a deposition altogether absent extraordinary
   17 circumstances.” Apple, 282 F.R.D. at 263 (quotation marks omitted).
   18              Second, Defendants cite Coleman v. Schwarzenegger, 2008 WL 4300437, at
   19 *2 (E.D. Cal. Sept. 15, 2008), in articulating the legal standard for apex depositions.
   20 But courts rarely rely on Coleman.5 Rather, courts in this District have looked to the
   21
   22   4
        See also Blankenship v. Hearst Corp., 519 F.2d 418, 429 (9th Cir. 1975) (“[A]
   23 strong showing is required before a party will be denied entirely the right to take a
      deposition.” (citation and quotation marks omitted)); Ahlman v. Barnes, 2021 WL
   24 1570838, at *4 (“A district court has broad discretion to determine whether, on the
   25 totality of the record, a party seeking a protective order has met its burden of
      showing good cause to block an apex deposition.”).
   26 5
        Defendants’ assertion that courts “routinely” apply Coleman is curious given that,
   27 according to Westlaw, courts in this District have cited Coleman only six times in
   28 the thirteen years since it was decided, and not a single time in the past five years.
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    1 apex deposition standard set forth in Apple: “In determining whether to allow an
    2 apex deposition . . . courts consider (1) whether the deponent has unique first-hand,
    3 non-repetitive knowledge of facts at issue in the case and (2) whether the party
    4 seeking the deposition has exhausted other less intrusive discovery methods.”
    5 Ahlman v. Barnes, 2021 WL 1570838, at *4 (quoting Apple) (allowing deposition of
    6 Orange County Sheriff).6
    7              Under this standard, “[t]he party seeking to take [an apex] deposition does not
    8 need to prove conclusively in advance that the deponent definitely has unique, non-
    9 repetitive information; instead, where a corporate officer may have any first-hand
   10 knowledge of relevant facts, the deposition should be allowed.” Id. (quotation
   11 marks omitted).7 In addition, exhausting other discovery methods is not an
   12 “absolute requirement,” but rather “an important, but not dispositive, consideration
   13 . . . to take into account.” Id.8
   14              Third, Defendants rely on Myles v. Cnty. of San Diego, 2016 WL 4366543, at
   15 *3 (S.D. Cal. Aug. 15, 2016) for the proposition that Plaintiffs “must” satisfy each
   16 prong of an additional five-factor test, including the requirement that “the deposition
   17 would not significantly interfere with the ability of the official to perform his
   18
   19   6
          See Khan v. Boohoo.com USA, Inc., 2021 WL 3882969, at *2 (C.D. Cal. July 28,
   20   2021) (“The governing legal standard for prohibiting or limiting the scope of apex
        witness depositions is set forth in Apple, Inc. v. Samsung Elecs.“); Monster Energy
   21   Co. v. Vital Pharm., Inc., 2021 WL 3524128, at *3 (C.D. Cal. May 26, 2021)
   22   (applying Apple standard); Alves v. Riverside County, 2021 WL 3598728, at *3-4
        (C.D. Cal. Apr. 9, 2021) (same); Ahlman v. Barnes, 2021 WL 1570838, at *4
   23   (same).
   24   7
        See also Alves, 2021 WL 3598728, at *4 (same); Monster Energy, 2021 WL
   25 3524128 at *3 (same); Novoa v. Geo Grp., Inc., 2020 WL 2501382, at *2 (C.D. Cal.
      Jan. 2, 2020) (same).
   26 8
        Alves, 2021 WL 3598728 at *4 (same); Monster Energy, 2021 WL 3524128 at *3
   27 (same); Novoa v. Geo Grp., Inc., 2020 WL 2501382, at *2 (C.D. Cal. Jan. 2, 2020)
   28 (same).
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    1 government duties.” No court in this District has ever cited Myles. In fact, courts
    2 have routinely held that “the fact that the apex witness has a busy schedule is simply
    3 not a basis for foreclosing otherwise proper discovery.” Luxottica Group S.p.A. v.
    4 Liquidity Services, Inc., 2019 WL 2620727, at *3 (C.D. Cal. May 24, 2019); Smith
    5 v. City of Stockton, 2017 WL 11435161, at *3 (E.D. Cal. Mar. 27, 2017) (denying
    6 protective order for police chief’s deposition and holding that “[a] busy schedule is
    7 not sufficient to meet defendants’ Rule 26(c) burden, and is an insufficient basis for
    8 precluding a deposition even under the ‘apex’ doctrine”).
    9         Under the correct legal standards, Plaintiffs are entitled to depose Villanueva
   10 and Osby.
   11               2.     Plaintiffs Are Entitled to Depose Sheriff Villanueva and
   12                      Chief Osby Because They Were Named in Defendants’ Rule
   13                      26 Disclosures.
   14         Both the County and Sheriff’s Department’s Rule 26 disclosures identified
   15 Sheriff Villanueva as a person who “may have discoverable information regarding
   16 their defenses.” (Lavoie Decl. Ex. B (COLA/LASD’s Suppl. Disclosures) at 2-
   17 3.) Indeed, after Vanessa Bryant’s name, Sheriff Villanueva was the first person
   18 listed. (Id. at 3.) Similarly, the Fire Department’s disclosures list Chief Osby as a
   19 person who “may have discoverable information regarding its defenses.” (Lavoie
   20 Decl. Ex. D (LAFD Disclosures) at 4.)
   21         This alone counsels in favor of denying Defendants’ motion. See Oakley, Inc.
   22 v. Neff, LLC, 2015 WL 4479424, at *2 (S.D. Cal. July 21, 2015) (denying motion
   23 for protective order for apex deponent where defendant identified high-ranking
   24 executive in Rule 26 disclosures and thereby “conceded that [he] has knowledge of
   25 matters relevant to the litigation”); Sawla v. B.E. Aerospace Inc., 2017 WL
   26 11635761, at *1-3 (C.D. Cal. May 3, 2017) (holding that party could not claim in
   27 Rule 26 disclosures that a witness “possess[ed] discoverable information that may
   28 support [his] claims” and “simultaneously seek to block Defendant from seeking
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    1 any further discovery from [the witness], claiming that he has no relevant
    2 information”); Bagley v. Blagojevich, 486 F. Supp. 2d 786, 789-90 (C.D. Ill. 2007)
    3 (allowing deposition of Illinois Governor where defendants had listed him in their
    4 Rule 26 disclosures).9
    5                    3.    Plaintiffs Are Entitled to Depose Sheriff Villanueva and
    6                          Chief Osby Because They Have Not Disclaimed Personal
    7                          Knowledge Via Declarations.
    8              The Court also should deny Defendants’ request for a protective order
    9 because their assertions that Sheriff Villanueva and Chief Osby lack personal
   10 knowledge are not supported by competent evidence. Defendants repeatedly cite
   11 Estate of Levingston v. Cnty. of Kern, 320 F.R.D. 520, 528 (E.D. Cal. 2017), but in
   12 that case the court relied on a sworn declaration from the apex official at issue
   13 asserting that he lacked knowledge relevant to the case. Indeed, countless cases
   14 allow apex depositions of high-ranking officials despite a declaration from the
   15 official stating that they lack personal knowledge.10 Here, Sheriff Villanueva and
   16 Chief Osby have not submitted declarations disclaiming personal knowledge.
   17 Accordingly, there is no basis to conclude that they lack personal knowledge of
   18
        9
   19    Other cases are legion. See Alexander v. 1328 Uptown, Inc., 2019 WL 4929931, at
        *5-6 (D. Minn. Oct. 7, 2019) (denying motion to quash where persons to be deposed
   20   were listed in moving party’s Rule 26 disclosures); Fugett v. Sec. Transp. Servs.,
   21   Inc., 2015 WL 419716, at *3-5 (D. Kan. Feb. 2, 2015) (denying motion to quash
        where person to be deposed was listed in moving party’s Rule 26 disclosures); Ed
   22   Tobergte Assocs. Co. v. Russell Brands, LLC, 259 F.R.D. 550, 555-557 (D. Kan.
   23   2009) (same); WIII Uptown, LLC v. B&P Restaurant Grp., LLC, 2016 WL 4620200,
        at *5-6 (M.D. La. Sept. 6, 2016) (same).
   24   10
          See, e.g., Green v. Baca, 226 F.R.D. 624, 648-49 & n.47 (C.D. Cal. 2005)
   25   (holding that LA County Sheriff could be compelled to testify at trial despite
   26   Sheriff’s declaration disclaiming personal knowledge); Smith v. City of Stockton,
        2017 WL 11435161, at *3 (E.D. Cal. Mar. 27, 2017) (denying protective order
   27   regarding police chief’s deposition despite chief submitting declaration that he had
   28   “no personal knowledge to contribute”).
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    1 relevant facts. Defendants’ arguments to the contrary are just that—argument. The
    2 Court should not preclude Plaintiff from taking testimony based on defense
    3 counsel’s representations about what those witnesses know or would say.
    4               4.     Sheriff Villanueva Possesses a Wealth of Unique Personal
    5                      Knowledge That Cannot Be Obtained from Other Sources.
    6         As explained below, discovery shows that Sheriff Villanueva played a key
    7 role in the events at issue in this litigation and has first-hand knowledge of those
    8 events.
    9                      (a)    Sheriff Villanueva Discussed the Photos in
   10                             Conversations that Other Participants Do Not Fully
   11                             Remember.
   12         According to deposition testimony taken so far, Sheriff Villanueva had
   13 approximately three telephone calls with Captain Jorge Valdez and Lieutenant John
   14 Satterfield on January 30 and 31, 2020, during which he was briefed on the
   15 “inquiry” being conducted in response to the citizen complaint and the Sheriff
   16 directed them how to proceed. (Lavoie Decl. Ex. J (Valdez Dep.) at 109:6-13;
   17 143:14-18; 158:23-160:2; 172:6-173:7.) Valdez and Satterfield then relayed
   18 Villanueva’s orders to the highest-ranking personnel at the Lost Hills Station,
   19 Captain Matthew Vander Horck and Lieutenant Hector Mancinas, and they in turn
   20 interacted with the personnel who had been present at the crash site, including the
   21 Deputy Defendants. (Id.)
   22         Valdez and Satterfield have already been deposed, but both testified that they
   23 do not remember critical aspects of their calls with Sheriff Villanueva. (Lavoie
   24 Decl. Ex. K (Satterfield Dep.) at 103:16-105:25; id. Ex. J (Valdez Dep.) at 160:3-
   25 25.) Plaintiffs have exhausted every avenue of discovery regarding these
   26 conversations, and Mrs. Bryant is now entitled to examine Sheriff Villanueva
   27 regarding his recollection of them. Mrs. Bryant also must be allowed to discover
   28 whether Sheriff Villanueva discussed the photos with others in the Department
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    1 besides Valdez and Satterfield.
    2                       (b)    Sheriff Villanueva Must Clarify the Record Regarding
    3                              His Orders to Delete Evidence.
    4         The County has taken the position that Sheriff Villanueva ordered deletion of
    5 the photos out of concern for the victims’ families. For example, the County’s
    6 interrogatory responses state:
    7         When he learned what had happened, Sheriff Villanueva ordered all
              Malibu/Lost Hills Station personnel who were involved in the
    8         helicopter crash investigation to respond to the station. The goal
              was to immediately ascertain the existence of any crash site photos that
    9         contained human remains, halt any improper dissemination, and
              identify any additional personnel who could have shared photos. To
   10         accomplish that goal, LASD told everyone involved that if they
              were truthful, deleted the photos, and had not shared any photos
   11         publicly, they would receive a performance log entry (“PLE”) in lieu
              of discipline.
   12
        (Lavoie Decl. Ex. F (County Responses to Interrogatories) at 9-10.)
   13
              At deposition, Lt. Hector Mancinas testified that he understood the directive
   14
        to delete photos to have come from the Sheriff:
   15
              Question:     [W]hat did you discuss with Captain Valdez and Lieutenant
   16                       Satterfield on these phone calls?
   17         Mancinas: They wanted me to identify personnel that had taken
                        photographs at the scene of the crash.
   18
              Question:     Did they also order you to identify persons with whom people
   19                       present at the crash site had shared any photos of the crash site?
   20         Mancinas: Yes.
   21         Question:     Did – did they order you to ensure that any photos of the crash
                            site were deleted?
   22
              Mancinas: Correct.
   23
              Question:     Was it your understanding at the time that these orders came
   24                       from the sheriff?
   25         Mancinas: Correct.
   26 (Id. Ex I (Mancinas Dep.) at 49:6-19.) Sergeant Marcus Phillips, who worked
   27 alongside Lt. Mancinas in talking to Lost Hills personnel who had been at the
   28 accident scene, testified similarly. (See id. Ex. L (Phillips Dep.) at 43:8-14 (“[Lt.
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    1 Mancinas] told me that . . . per the [S]heriff we were to call the deputies in that were
    2 suspected of either taking photos or having photos and that the [S]heriff’s direction
    3 was to have those photos deleted.”).)
    4              Other evidence also ties Sheriff Villanueva to the deletion. Alarmed upon
    5 learning of Sheriff Villanueva’s deletion order, Captain Matthew Vander Horck of
    6 the Malibu / Lost Hills Sheriff’s Station called his supervisor on January 30, 2020,
    7 to express concern. (Lavoie Decl. ¶ 19.) Vander Horck said: “[H]ow do we know
    8 that we’re not breaking some obscure federal law that we’re not aware of? And if
    9 so, then are we telling them by deleting these photographs that we’re destroying
   10 evidence?” (Id.) Vander Horck reminded his supervisor that “the last time our
   11 deputies got instructions from our executives in a federal case they were arrested
   12 and tried for crimes, just to get to those executives.” (Id.) A short while later,
   13 Vander Horck’s supervisor called him and stated: “[T]his is what the Sheriff wants
   14 and so we’re gonna go ahead and . . . continue what you’re doing.” (Id.)
   15              However, Valdez and Satterfield testified that they could not remember
   16 whether the Sheriff ordered photos to be deleted.
   17                                        Captain Jorge Valdez
   18              Question:   Was the word “delete” ever uttered during this call with the
                               sheriff?
   19
                   Valdez:     I don’t recall.
   20
                   Question:   You don’t recall as in you don’t think it was, or you don’t know
   21                          whether it was or not?
   22              Valdez:     I don’t – I don’t remember.
   23              Question:   If the sheriff had said something to the effect of, “I want the
                               relevant personnel to delete the photos of the accident scene,” do
   24                          you think a statement like that would have been memorable to
                               you?
   25
                   Valdez:     Yes.
   26
                   Question:   But you don’t remember him making a statement like that; is that
   27                          right?
   28                          [Objection]
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    1              Valdez:      I don’t remember.11
    2                                              * * * * *
    3                                          Lt. John Satterfield
    4              Question:    In any of your conversations with Sheriff Villanueva in the days
                                after this allegation was received from the citizen, was the word
    5                           “delete” mentioned?
    6              Satterfield: I don’t recall.
    7                           …
    8              Question:    Is it possible that during your call with Sheriff Villanueva, that
                                he ordered or encouraged the personnel who had any photos of
    9                           the accident site to delete them?
   10                           [Objection.]
   11              Satterfield: I don’t recall to the point where I could answer that question.
   12                           …
   13              Question:    Do you think it would be memorable if you had a conversation
                                with Sheriff Villanueva in which he said that he wanted
   14                           department personnel to delete photos of an accident scene?
   15                           [Objection.]
   16              Satterfield: I obviously don’t recall it; so if it did occur; it wasn’t very
                                memorable.   If it didn’t occur, there’s no way for me to recall
   17                           it.12
   18              Plaintiffs are entitled to depose Sheriff Villanueva on this issue to clarify the
   19 record as to whether he directed the deletion of photos. See Smith v. City of
   20 Stockton, 2017 WL 11435161, at *5 (E.D. Cal. Mar. 27, 2017) (ordering deposition
   21 where chief of police “had, or at least might have had, a direct hand in the training,
   22 supervision and control of his own police officers”).
   23              Defendants’ interrogatory responses and the testimony of their witnesses is
   24 troubling. They suggest that the Sheriff, a law enforcement officer, directed
   25 subordinates to destroy evidence of potential misconduct alleged in a citizen
   26
        11
   27        Lavoie Decl. Ex. J (Valdez Dep.) at 160:3-25.
        12
   28        Lavoie Decl. Ex. K (Satterfield Dep.) at 103:16-105:25.
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    1 complaint. This, in turn, suggests awareness of wrongdoing. To the extent that
    2 Defendants are going to argue that the deletion was a benevolent effort to protect the
    3 victims’ families, Plaintiffs are entitled to depose Sherriff Villanueva to ascertain his
    4 state of mind and rebut Defendants’ arguments. Cf. Freedom from Religion Found.,
    5 Inc. v. Abbott, 2017 WL 4582804, at *10-12 (W.D. Tex. Oct. 13, 2017) (allowing
    6 deposition of Texas Governor Greg Abbott where Abbott had “first-hand knowledge
    7 of his own motives” in taking the challenged action and “there is no alternative
    8 source from which [plaintiff] could acquire this knowledge”).
    9              The destruction of evidence also raises serious questions about spoliation.
   10 Sheriff Villanueva’s intent in ordering the deletion is relevant to that issue and to
   11 whether any sanctions are appropriate. See Apple, Inc. v. Samsung Elecs., Co., 888
   12 F. Supp. 2d 976, 992 (N.D. Cal. 2012) (in considering what spoliation sanction to
   13 impose, courts consider “the degree of fault of the party who altered or destroyed
   14 the evidence”); Reinsdorf v. Skechers U.S.A., Inc., 296 F.R.D. 604, 626 (C.D. Cal.
   15 2013) (adverse inference for spoliation requires a showing that records were
   16 destroyed “with a culpable state of mind”). Plaintiffs are entitled to depose
   17 Villanueva on that issue as well, and no other witness (such as a Department
   18 30(b)(6)) can competently testify regarding the thoughts that were running through
   19 the Sheriff’s mind when he ordered personnel to delete the photos.13
   20
        13
   21     Defendants assert that “[t]he County and its departments are only directly named
   22   on the Monell claim” and “[t]he inquiry is thus whether Sheriff Villanueva and Fire
        Chief Osby have any relevant, first-hand information essential to the Monell claim
   23   that cannot be obtained through less burdensome means or alternative sources.”
   24   Defendants are mistaken, as Plaintiffs have named the County, Sheriff’s
        Department, and Fire Department as defendants on their claims for negligence and
   25   invasion of privacy. (See, e.g., Lavoie Decl. Ex. A (Bryant FAC) at 34, 37.)
   26   Although these tort claims are based on a vicarious liability theory, Villanueva and
        Osby’s failure (as agents of their employers) to preserve evidence—and in some
   27   cases their affirmative efforts to destroy evidence—will be highly relevant to these
   28   tort claims, in addition to the Monell claim.
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    1                        (c)   Sheriff Villanueva Described His Deputies’ Conduct as
    2                              “Wildly Inappropriate” and “Disgusting.”
    3           One element Plaintiffs will be required to prove as part of their § 1983 claim
    4 is that Defendants violated their substantive due process rights in a manner that
    5 “shocks the conscience.” See Gantt v. City of Los Angeles, 717 F.3d 702, 707 (9th
    6 Cir. 2013). Regarding this point, Plaintiffs intend to question Sheriff Villanueva
    7 regarding his public statements that the deputies’ conduct was “wildly
    8 inappropriate” and “disgusting.”14 Only Sheriff Villanueva can speak to why he
    9 believed this.
   10                        (d)   Sheriff Villanueva Has Personally Stated that Prior
   11                              Policies Were “Deficient.”
   12           Plaintiffs contend that, by failing to establish a policy or procedure addressing
   13 the treatment of human remains, including the taking and sharing of photographs of
   14 human remains without any legitimate governmental purpose, the County and
   15 Sheriff’s Department are liable for the violations of Plaintiffs’ constitutional rights
   16 under Monell v. Dep’t of Social Services, 436 U.S. 658 (1978). See Gibson v. Cnty.
   17 of Washoe, 290 F.3d 1175, 1194-96 (9th Cir. 2002) (jury could find that omission in
   18 County’s policy related to inmate medications constituted deliberate indifference to
   19 inmate’s medical needs).
   20           Sheriff Villanueva has made comments relevant to this issue. In a letter to the
   21 Los Angeles County Inspector General dated March 4, 2020, Sheriff Villanueva
   22 stated: “It is evident our photograph policy is deficient and this incident has
   23 identified a need for me to direct the creation of [a] new policy regarding the taking,
   24 possession, [and] distribution of photographs and recordings, etc., by on-duty LASD
   25 personnel.” (Lavoie Decl. Ex. N (Villanueva Letter) at 2.) Only Sheriff Villanueva
   26
   27   14
         https://www.facebook.com/watch/live/?v=875675446231021&ref=watch_
   28 permalink.
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    1 can speak to these comments and, as the head policymaker for the Sheriff’s
    2 Department, he is subject to deposition on this point. See Green v. Baca, 226 F.R.D.
    3 624, 649 (C.D. Cal. 2005) (holding that Sheriff Lee Baca could be compelled to
    4 testify in Monell action because, “as Los Angeles County Sheriff, [he] is the final
    5 policymaker for the County in setting and implementing jail release policies”);
    6 Ahlman v. Barnes, 2021 WL 1570838, at *5 (sheriff subject to deposition in suit
    7 regarding COVID-19 policies in county jail because “the best person to provide
    8 such information is the final policymaker, Sheriff Barnes”); Lull v. Cnty. of
    9 Sacramento, 2020 WL 4547166, at *2 (E.D. Cal. Aug. 6, 2020) (allowing deposition
   10 of county finance director in § 1983 action where evidence indicated the director
   11 “was involved in the process of drafting” the challenged policy).
   12           In addition, since the helicopter crash, Sheriff Villanueva shepherded the
   13 creation of a new policy regarding photographs of human remains. In a television
   14 interview on March 2, 2020, Sheriff Villanueva stated: “[We’re] redoing the entire
   15 policies and we’re creating new ones that are very specific, with teeth in ‘em, all up
   16 to including a penalty of discharge for a violation of those policies.” (Lavoie Decl.
   17 ¶ 22.) That same day, Sheriff Villanueva stated at a press conference: “We’re trying
   18 to put an end to this. We’re changing our policies to be very specific.”15 Only
   19 Sheriff Villanueva can competently testify regarding why he himself (as the leader
   20 of the Sheriff’s Department) believed this new policy was necessary and how it
   21 improved on the Department’s past policy. See Smith v. City of Stockton, 2017 WL
   22 11435161, at *4 (E.D. Cal. Mar. 27, 2017) (denying protective order for police
   23 chief’s deposition where chief was “the author of the officer-involved shooting
   24 policy adopted after the shooting at issue here”).
   25
   26
   27   15
         https://www.facebook.com/watch/live/?v=875675446231021&ref=watch_
   28 permalink.
      537199.5
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    1                          (e)   Sheriff Villanueva Personally Decided Not to Discipline
    2                                Any of the Offending Deputies.
    3              According to Defendants’ interrogatory responses, Sheriff Villanueva
    4 personally made the decision to forego discipline for deputies who took or shared
    5 photos of the victims’ remains.16 Plaintiffs are entitled to examine Sheriff
    6 Villanueva on this decision because “a municipal defendant’s failure to fire or
    7 reprimand officers evidences a policy of deliberate indifference to their
    8 misconduct.” See Henry v. Cnty. of Shasta, 132 F.3d 512, 519-20 (9th Cir. 1997);
    9 see also Smith v. City of Stockton, 2017 WL 11435161, at *3-5 (E.D. Cal. Mar. 27,
   10 2017) (holding plaintiff was entitled to depose chief of policy in Monell case “to
   11 find out why [he] decided not to discipline the officers involved in this case”). No
   12 other witness (such as a Department 30(b)(6)) could competently testify to Sheriff
   13 Villanueva’s thinking for punishing or not punishing certain personnel.
   14                          (f)   Sheriff Villanueva Stated that His Deputies’ Conduct
   15                                “Harm[ed] People Who Suffered a Tragedy Already.”
   16              Defendants have implied that Plaintiffs cannot have suffered emotional
   17 distress from the sharing of photos of their loved ones’ remains because Plaintiffs
   18 have yet to confront the images of their deceased loved ones’ on the internet.
   19 However, Sheriff Villanueva himself stated publicly that unnecessary photos of
   20 human remains “harm[] people [who] suffered a tragedy already” by introducing the
   21 possibility “that it could be expanded beyond that by having a public display of their
   22 loved ones’ remains.”17 Plaintiffs should be allowed to question Sheriff Villanueva
   23 regarding those statements, which only he himself can competently explain.
   24
        16
   25    Sheriff Villanueva apparently ordered that the offending personnel be given
      performance log entries, which are not discipline under Department policy. (See
   26 Lavoie Decl. Ex. K (Satterfield Dep.) at 51:13-23.)
   27 17 https://www.facebook.com/watch/live/?v=875675446231021&ref=watch_
   28 permalink.
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    1                          (g)    Sheriff Villanueva Has Personally Expressed
    2                                 Confidence that All Photos Have Been Contained.
    3              Defendants presumably plan to argue at trial that they successfully contained
    4 the spread of the photos. For example, in public comments on March 2, 2020,
    5 Sheriff Villanueva stated: “[T]he photos were deleted, that we know. All photos
    6 that we know of that were in the possession of the individuals have been deleted.
    7 And . . . we’re hoping that that is the outcome of this, that there is no photos to be
    8 circulated anywhere.”18 If Defendants intend to make assertions like this at trial in
    9 an effort to minimize Plaintiffs’ emotional distress, Plaintiffs must be entitled to
   10 question Defendants’ witnesses—including Sheriff Villanueva—regarding the basis
   11 for their belief that all improper photos have been destroyed.
   12                          (h)    Sheriff Villanueva Has Made Public Statements About
   13                                 His Experience With Improper Handling of Photos of
   14                                 Human Remains.
   15              In the days after the LA Times report regarding the photos, Sheriff Villanueva
   16 addressed reporters at a press conference, during which he made the following
   17 statement?
   18              [U]nfortunately, ever since they invented the polaroid camera, this has
                   been a problem in law enforcement across the nation, probably across
   19              the world, because it just makes it so much easier. And then there’s—
                   there’s, uh, cops—they keep death books, for example, where they—
   20              they have, uh, photos from crime scenes throughout their careers.
                   That’s a macabre idea, but some do that. And, 19uh, why? I don’t want
   21              to get into the psychology of people’s decisions.
   22 The Sheriff made similar comments to the LA Times as part of its initial reporting on
   23 the photos, stating: “Every police department struggles with the same thing, where
   24
        18
   25    https://abc7.com/kobe-bryant-crash-helicopter-death/5980138/#:~:text=%3E-
      ,Los%20Angeles%20County%20Sheriff%20Alex%20Villanueva%20said%20eight
   26 %20deputies%20were,and%20eight%20others%20in%20January.
   27 19 https://www.facebook.com/watch/live/?v=875675446231021&ref=watch_
   28 permalink.
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    1 people take photos and they’re not evidence. So that’s a practice we have to make
    2 sure that everyone walks away, and there is no evidence than the official photos of
    3 evidence that are taken for criminal purposes.”20
    4           Plaintiffs are entitled to explore the full extent of Sheriff Villanueva’s
    5 knowledge of law enforcement officers keeping “death books” and taking improper
    6 photos of human remains, as it is relevant to their claim that the County and
    7 Sheriff’s Department acted with deliberate indifference to their constitutional rights.
    8 See Smith v. City of Stockton, 2017 WL 11435161, at *3-4 (E.D. Cal. Mar. 27, 2017)
    9 (ordering police chief’s deposition where plaintiff alleged the chief had “personal
   10 knowledge of serious problems—problems of constitutional dimension—with his
   11 officers’ use of deadly force against unarmed African-American men during vehicle
   12 stops” and the chief’s “own implementation (or failure to implement) a policy
   13 regarding use of force prior to the shooting”).
   14           Defendants’ only response is to say that Sheriff Villanueva’s comment about
   15 death books was, “on its face, not talking about LASD.” Counsel’s characterization
   16 simply underscores the need to depose Sheriff Villanueva himself.
   17                        (i)    Sheriff Villanueva Made Personal Promises to Plaintiff
   18                               Vanessa Bryant on the Day of the Accident.
   19           Defendants appear poised to argue that Plaintiffs are somehow exaggerating
   20 the emotional distress they have experienced due to the photos. But any such
   21 argument is belied by conversations that occurred on the day of the accident. In the
   22 hours after the crash, family members of the victims gathered at the nearby Sheriff’s
   23 station in Lost Hills, where Plaintiff Vanessa Bryant spoke to Sheriff Villanueva and
   24
   25   20
         Alene Tchekmedyian & Paul Pringle, Deputies Were Ordered to Delete Kobe
   26 Bryant Crash Photos to Avoid Discipline, Sources Say, LA Times (Feb. 28, 2020),
      https://www.latimes.com/california/story/2020-02-28/kobe-bryant-crash-photos-
   27 sheriffs-deputies#:~:text=In%20an%20attempt%20to%20keep,sources%20with%20
   28 knowledge%20of%20the
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    1 expressed concern that the crash site was unprotected from photographers. (Lavoie
    2 Decl. Ex. A (Bryant FAC) ¶ 2.) In response, Sheriff Villanueva assured her that his
    3 deputies were securing the scene. (Id.) In other words, one of Mrs. Bryant’s very
    4 first thoughts upon learning of the loss of her husband and daughter was to protect
    5 them from unauthorized photography. Unless Defendants will concede this aspect
    6 of her emotional distress damages, Mrs. Bryant is entitled to depose Sheriff
    7 Villanueva about these conversations to avoid unfair surprise at trial if he denies
    8 what occurred.
    9                          (j)    Sheriff Villanueva Appears to Have Personal
   10                                 Knowledge About Why an Investigation Through
   11                                 Standard Processes Was Halted
   12              Finally, there is evidence that Sheriff Villanueva has personal knowledge with
   13 respect to why an investigation through the chain of command was halted. As
   14 noted, Captain Vander Horck began the process of investigating the citizen
   15 complaint to the Lost Hills Station. However, evidence suggests that this process
   16 was cut short by officials outside the chain of command who ordered deputies to
   17 report to the Station to delete the photos. Vander Horck called his supervisor on
   18 January 30, 2020, to express concern that this course of action was highly unusual
   19 and perhaps unlawful. (Lavoie Decl. ¶ 19.) However, Vander Horck’s supervisor
   20 called and stated: “[T]his is what the Sheriff wants and so we’re gonna go ahead and
   21 . . . continue what you’re doing.” (Id.) Sheriff Villanueva must answer questions
   22 about why he halted the process of investigating the citizen complaint through
   23 standard processes.
   24                    5.    Chief Osby Has Extensive Personal Knowledge that Cannot
   25                          Be Obtained from Other Sources.
   26              Plaintiffs have adduced evidence that Chief Osby has unique personal
   27 knowledge that is highly relevant to Plaintiffs’ claims.
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    1                          (a)   Osby Spoke Directly With Villanueva on January 31,
    2                                2020.
    3              On January 31, 2020, the Sheriff’s Department learned that a deputy had
    4 observed one firefighter taking photos of the victims’ remains and had personally
    5 Airdropped his own photos of remains to a second firefighter. (Lavoie Decl. Ex. H
    6 (McCloud Dep.) at 58:20-59:16.) That same day, Captain Matthew Vander Horck
    7 relayed this information to the Fire Department by phone. (Id.) The Fire
    8 Department also learned that Sheriff Villanueva wanted to talk to Chief Osby about
    9 the situation. (Id.) The two department heads spoke by phone on January 31. (Id.
   10 at 67:18-68:1.) Plaintiffs inquired about this call during the Fire Department’s
   11 30(b)(6) deposition:
   12              Question:   Did a conversation ever take place between the sheriff and [Chief
                               Osby] about the information you had received from Captain
   13                          Vander Horck?
   14              Witness:    I believe there was a conversation . . . I was not part of the
                               conversation, nor did I hear the conversation. But I do believe
   15                          that there was a conversation, and I cannot remember how I
                               verified that. But I do believe that they spoke.
   16
                               …
   17
                   Question:   And what can you tell me about the substance of that
   18                          conversation between Sheriff Villanueva and Chief Osby on
                               January 31st?
   19
                   Witness:    I cannot tell you any of the specifics of their conversation. I – in
   20                          general, it was regarding the Willow incident and the behavior of
                               our firefighters and related to that incident. And I think that’s as
   21                          much detail as I can get into.
   22              Question:   So beyond the general subject matter of the conversation, you’re
                               not prepared to tell me anything else about what was – what was
   23                          talked about?
   24              Witness:    No, I’m not.
   25 (Id. at 67:5-68:13.) The only way for Plaintiffs to discover what was said during the
   26 one-on-one conversation between Sheriff Villanueva and Chief Osby, the two top
   27 policymakers at issue in this case, is to depose them.
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    1                          (b)   Osby Spoke Directly with Chief William McCloud
    2                                about the Misconduct by Fire Department Personnel.
    3              One of the Fire Department’s 30(b)(6) witnesses, Chief William McCloud,
    4 testified that he had a direct conversation with Chief Osby regarding the intelligence
    5 from the Sheriff’s Department that two members of the Fire Department had
    6 obtained improper photos of the victims’ remains. However, when testifying about
    7 the content of the call, McCloud did not recall what Chief Osby said during the
    8 conversation. (Lavoie Decl. Ex. H (McCloud Dep.) at 62:8-10 (“I don’t remember
    9 exactly what he [i.e., Osby] said to me.”).) Weeks later, after a citizen complained
   10 to the Fire Department that she had observed a firefighter showing off photos of the
   11 victims’ remains to a group of off-duty firefighters and their wives and girlfriends
   12 while having cocktails at an awards ceremony at a Hilton hotel, Chief McCloud
   13 informed Chief Osby of the complaint. But Chief McCloud could not recall any of
   14 the specifics of that conversation either. (Id. at 94:8-12 (“Again, I cannot remember
   15 the specific call.”).) Plaintiffs are entitled to depose Chief Osby about his
   16 recollection of both calls.
   17                          (c)   Osby Spoke Directly With Battalion Chief Roland
   18                                Sprewell Regarding the LA Times Report on February
   19                                28, 2020.
   20              A document produced by Defendants shows that, at 12:00 p.m. on the day the
   21 LA Times first reported on the improper photos (February 28, 2020), Chief Osby and
   22 Battalion Chief Roland Sprewell had a scheduled call titled: “Kobe Bryant IC.”
   23 (Lavoie Decl. Ex. O (Osby Calendar Invite) at 1.) Plaintiffs are entitled to discover
   24 what was said during this call. Defendants have asserted that Battalion Chief
   25 Sprewell (the only other participant in the conversation) is on a leave of absence and
   26 unavailable for deposition, so Plaintiffs can only take testimony about this
   27 conversation by deposing Chief Osby.
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    1                      (d)   Osby’s Testimony is Relevant to Numerous Other
    2                            Issues as Well.
    3         Chief Osby also has first-hand knowledge of other issues that are relevant.
    4         First, Chief Osby must explain why he did not take action to investigate the
    5 improper photos until receiving a citizen complaint. As noted above, just a few days
    6 after the accident, Chief Osby learned that at least two firefighters had obtained
    7 improper photos of the victims’ remains. Despite learning this information on
    8 January 31, 2020, the Fire Department did not launch an internal investigation,
    9 conduct interviews of the personnel who responded to the scene, or examine any
   10 devices of those personnel for more than a month, when on March 6, 2020, the
   11 citizen lodged her complaint about the public display she had observed over
   12 cocktails at the awards ceremony. (Lavoie Decl. Ex. H (McCloud Dep.) at 80:21-
   13 81:23, 86:4-19, 89:20-25.)
   14         Plaintiffs need to question Chief Osby about this inexplicable delay because
   15 the Fire Department’s inaction increases the chances that the photos were
   16 disseminated, currently exist in the public realm, and could surface at some point in
   17 the future. Moreover, discovery suggests that evidence of the firefighters’
   18 misconduct was destroyed between January 31 and March 6, 2020, including
   19 evidence that was housed on Department-owned electronic devices. (See Lavoie
   20 Decl. ¶ 19.) Chief Osby’s state of mind is relevant to the legal consequences of that
   21 destruction. See Reinsdorf v. Skechers U.S.A., Inc., 296 F.R.D. 604, 626 (C.D. Cal.
   22 2013) (adverse inference for spoliation requires a showing that records were
   23 destroyed “with a culpable state of mind”).
   24         Second, as the chief policymaker for the Fire Department, Chief Osby is the
   25 best possible witness regarding whether the Department’s then-existing policies
   26 were adequate to prevent violations of the constitutional right to control the death
   27 images of loved ones. He is likewise best positioned to testify regarding the
   28 Department’s creation of a new policy that provides guidance on inappropriate
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    1 photographs, as the Department has already acknowledged that Chief Osby was a
    2 driving force behind the adoption of the new policy. (Lavoie Decl. Ex. H (McCloud
    3 Dep.) at 185:10-24 (identifying Chief Osby as part of the executive team involved in
    4 reevaluating the effectiveness of the Department’s policies), 188:15-25 (“I think the
    5 chief [Osby] said it best . . . we owe it to the communities that we serve, we owe it
    6 to the employees to get better; and part of that getting better; part of that corrective
    7 action plan, if you will, is for us to communicate to everyone within the department
    8 how we can get better.”).) Chief Osby’s awareness of the problem of improper
    9 photo sharing among first responders and any prior incidents in the Department is
   10 also relevant.
   11         Third, given the high-profile nature of the matter, it seems likely that Chief
   12 Osby was the final decision-maker in attempting to terminate two firefighters and
   13 suspend a third related to their conduct with the improper photos. Chief Osby’s
   14 testimony on that issue is relevant to whether the conduct at issue “shocked the
   15 conscience” as well as to the Department’s culpability for sitting on its hands after
   16 learning that members of its Department had potentially taken and received
   17 improper death photographs.
   18                6.     There Is No Basis to Limit the Depositions or for Use of
   19                       Interrogatories as an Alternative.
   20         Limiting Plaintiffs to serving interrogatory responses on Sheriff Villanueva
   21 and Chief Osby would be grossly unfair to Plaintiffs. Interrogatory responses
   22 drafted by Defendants’ lawyers would be no substitute for live questioning, where
   23 evasive answers can be followed up on and the witness can be pinned down.
   24 Presumably that is why Defendants insisted on deposing Plaintiffs, who have or will
   25 be sitting for a full day of deposition despite the inevitable pain of testifying about
   26 matters related to the deaths of their spouses, children, and parents, and the pain
   27 caused by firefighters and law enforcement officers gawking at photos of their
   28 remains. If Plaintiffs can endure a full day of deposition, surely Sheriff Villanueva
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    1 and Chief Osby can as well.
    2              Interrogatories also would be impractical given the case schedule. Because
    3 Defendants waited until the eleventh hour to object to Sheriff Villanueva’s and
    4 Chief Osby’s depositions, any disputes regarding interrogatories likely could not be
    5 resolved before the discovery deadline of November 29, 2021. See Mansourian v.
    6 Bd. of Regents, 2007 WL 4557104, at *1-4 (E.D. Cal. Dec. 21, 2007) (allowing
    7 deposition and holding that “even if plaintiffs were required to seek discovery from
    8 [the apex deponent] via interrogatories or other such devices, the impending
    9 discovery deadline leaves plaintiffs little time to effect such alternative discovery,
   10 especially if a dispute were to arise as to the sufficiency of the responses”).
   11              Both Sheriff Villanueva and Chief Osby should be ordered to sit for the usual
   12 seven hours provided by rule.
   13                    7.     Defendants’ Position with Respect to Sheriff Villanueva Is
   14                           Frivolous and Continues a Pattern of Discovery Abuse.
   15              The County’s arguments with respect to Sheriff Villanueva are frivolous,
   16 constitute discovery abuse, and continue a pattern of forcing Mrs. Bryant to file
   17 motions to obtain basic discovery.
   18              As the Court will recall, the County began this litigation by forcing Mrs.
   19 Bryant to move to compel production of the Sheriff’s Department internal
   20 investigation report (“IA Report”) related to the improper photos—a document the
   21 County itself described as “contain[ing] all of the information Plaintiff is seeking,
   22 including the names of all witnesses who are likely to have discoverable information
   23 regarding her claims and Defendants’ defenses.” (Lavoie Decl. Ex. P
   24 (COLA/LASD Initial Disclosures) at 3.) The Court promptly ordered production of
   25 the IA Report, but the County still profited off its baseless position by burning
   26 nearly three months of Mrs. Bryant’s precious discovery window, during which time
   27 no documents were produced and no depositions could occur.
   28              More recently, Defendants forced Mrs. Bryant to move to compel several
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    1 categories of documents that are obviously relevant. To cite just two examples, the
    2 County refused to produce documents related to its employees scrapbooking
    3 gratuitous photos of human remains (despite Sheriff Villanueva’s public statement
    4 that some officers keep “death books” of such photos) and documents related to the
    5 training deputies receive regarding the federal constitutional right to control death
    6 images of loved ones (the very right at issue in Mrs. Bryant’s § 1983 claim). The
    7 Court granted Mrs. Bryant’s motion to compel in every material respect, but the
    8 dispute created unnecessary challenges in completing discovery on the current
    9 schedule.
   10         With regard to the present dispute, Defendants listed Sheriff Villanueva and
   11 Chief Osby on their Rule 26 disclosures, thereby acknowledging that they “likely []
   12 have discoverable information . . . that [Defendants] may use to support [their]
   13 claims or defenses.” Fed. R. Civ. P. 26(a)(1)(A)(i). Later, when Plaintiffs wrote to
   14 Defendants with a list of deponents that included Sheriff Villanueva and Chief
   15 Osby, Defendants responded that “[n]othing strikes us as objectionable right now,”
   16 aside from the number of depositions sought. (Lavoie Decl. Ex E (Email re
   17 Consolidation) at 1.) Then, with only eight weeks to go before the discovery
   18 deadline, Defendants raised for the first time that they would not make Sheriff
   19 Villanueva and Chief Osby available for deposition. (Rodriguez-Sanchirico Decl.,
   20 Ex F at 413.)
   21         As with the IA Report, Defendants are again poised to profit from their
   22 discovery abuse, as counsel for Plaintiffs have had to spend precious time preparing
   23 this brief in the waning weeks of the discovery period and, in doing so, have been
   24 forced to disclose the topics on which they plan to depose important witnesses.
   25         Plaintiffs considered seeking fees and/or sanctions in connection with this
   26 motion, as the County’s frivolous position and pattern of forcing Plaintiffs to move
   27 to compel basic discovery satisfies the standard under the Federal Rules. However,
   28 counsel for Plaintiffs have a practice of exercising restraint in requesting monetary
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    1 sanctions awards, and, in accordance with that practice, will not do so here.
    2 V.           CONCLUSION
    3              A.    Defendants’ Statement
    4              Defendants respectfully request that the Court grant their motion and issue a
    5 protective order barring Plaintiffs from taking the depositions of Sheriff Alex
    6 Villanueva and Fire Chief Daryl Osby. To the extent the Court determines that any
    7 of the areas of testimony referenced above are critical to the material issues in this
    8 case, Plaintiffs should be ordered to pursue that information through other means
    9 (including interrogatories and other witnesses). If the Court determines that
   10 Plaintiffs cannot obtain information about any material issues from any other source,
   11 Defendants respectfully request that any ordered depositions be limited in duration
   12 (to two hours) and scope (to unique personal knowledge that Plaintiffs have
   13 established they cannot obtain from other sources).
   14              B.    Plaintiffs’ Statement
   15              Plaintiffs respectfully request that the Court grant the motion to compel and
   16 deny Defendants’ motion for a protective order. Plaintiffs further ask that, in light
   17 of Plaintiffs’ deadline of November 29 to oppose any summary judgment motion
   18 filed by Defendants, the Court: (i) order the County to respond within 72 hours of
   19 the order with a date for Sheriff Villanueva’s and Chief Osby’s depositions; and
   20 (2) order that the depositions themselves occur within two weeks of the Court’s
   21 order, each for the duration provided by Federal Rule of Civil Procedure 30(d)(1)—
   22 i.e., one day of 7 hours.
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    1 DATED: October 15, 2021                OFFICE OF COUNTY COUNSEL
    2
    3
                                             By:        /s/ Jonathan C. McCaverty
    4
                                                    JONATHAN C. McCAVERTY
    5                                               Attorneys for Defendant
    6                                               LOS ANGELES COUNTY SHERIFF’S
                                                    DEPARTMENT
    7
    8 DATED: October 15, 2021                MILLER BARONDESS, LLP
    9
   10
   11                                        By:        /s/ Jason H. Tokoro
                                                    JASON H. TOKORO
   12
                                                    Attorneys for Defendants
   13                                               COUNTY OF LOS ANGELES, LOS
                                                    ANGELES COUNTY FIRE
   14
                                                    DEPARTMENT, JOEY CRUZ, RAFAEL
   15                                               MEJIA, MICHAEL RUSSELL, RAUL
                                                    VERSALES, ARLIN KAHAN, and
   16
                                                    TONY IMBRENDA
   17
   18
        DATED: October 15, 2021              MUNGER, TOLLES & OLSON LLP
   19
   20
   21                                        By:        /s/ Luis Li
   22                                               LUIS LI
                                                    Attorneys for Plaintiff
   23                                               VANESSA BRYANT
   24
   25
   26
   27
   28
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    1 DATED: October 15, 2021                JEROME M. JACKSON LAW OFFICES
    2
    3
                                             By:        /s/ Jerome M. Jackson
    4
                                                    JEROME M. JACKSON
    5                                               Attorneys for Plaintiffs
    6                                               CHRISTOPHER L. CHESTER; R.C.; and
                                                    H.C.
    7
    8 DATED: October 15, 2021                PANISH SHEA & BOYLE LLP
    9
   10
   11                                        By:        /s/ Kevin R. Boyle
                                                    KEVIN R. BOYLE
   12
                                                    Attorneys for Plaintiffs
   13                                               MATTHEW MAUSER; T.M.; P.M.;
                                                    I.M.; ALEXIS ALTOBELLI and JOHN
   14
                                                    JAMES ALTOBELLI
   15
   16
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